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  Jonathan Rodden
  Stanford University
  Department of Political Science                      Phone:      (650) 723-5219
  Encina Hall Central                                  Email:      jrodden@stanford.edu
  616 Serra Street                                     Homepage:   http://www.jonathanrodden.com
  Stanford, CA 94305


  Personal
     Born on August 18. 1971, St. Louis, MO.

     United States Citizen.


  Education
     Ph.D. Political Science, Yale University, 2000.

     Fulbright Scholar, University of Leipzig, Germany, 1993–1994.

     B.A., Political Science, University of Michigan, 1993.


  Academic Positions
     Professor, Department of Political Science, Stanford University, 2012–present.

     Senior Fellow, Stanford Institute for Economic Policy Research, 2020–present.

     Senior Fellow, Hoover Institution, Stanford University, 2012–present.
     Director, Spatial Social Science Lab, Stanford University, 2012–present.

     W. Glenn Campbell and Rita Ricardo-Campbell National Fellow, Hoover Institution, Stanford Univer-
     sity, 2010–2012.
     Associate Professor, Department of Political Science, Stanford University, 2007–2012.

     Fellow, Center for Advanced Study in the Behavioral Sciences, Palo Alto, CA, 2006–2007.
     Ford Career Development Associate Professor of Political Science, MIT, 2003–2006.

     Visiting Scholar, Center for Basic Research in the Social Sciences, Harvard University, 2004.

     Assistant Professor of Political Science, MIT, 1999–2003.

     Instructor, Department of Political Science and School of Management, Yale University, 1997–1999.




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  Publications
  Books
    Why Cities Lose: The Deep Roots of the Urban-Rural Divide. Basic Books, 2019.
    Decentralized Governance and Accountability: Academic Research and the Future of Donor Programming. Co-
    edited with Erik Wibbels, Cambridge University Press, 2019.
    Hamilton‘s Paradox: The Promise and Peril of Fiscal Federalism, Cambridge University Press, 2006. Winner,
    Gregory Luebbert Award for Best Book in Comparative Politics, 2007; Martha Derthick Award for
    lasting contribution to the study of federalism, 2021.
    Fiscal Decentralization and the Challenge of Hard Budget Constraints, MIT Press, 2003. Co-edited with
    Gunnar Eskeland and Jennie Litvack.

  Peer Reviewed Journal Articles
    Who Registers? Village Networks, Household Dynamics, and Voter Registration in Rural Uganda,
    2021, Comparative Political Studies forthcoming (with Romain Ferrali, Guy Grossman, and Melina Platas).
    Partisan Dislocation: A Precinct-Level Measure of Representation and Gerrymandering, 2021, Political
    Analysis forthcoming (with Daryl DeFord Nick Eubank).
    Who is my Neighbor? The Spatial Efficiency of Partisanship, 2020, Statistics and Public Policy 7(1):87-100
    (with Nick Eubank).
    Handgun Ownership and Suicide in California, 2020, New England Journal of Medicine 382:2220-2229
    (with David M. Studdert, Yifan Zhang, Sonja A. Swanson, Lea Prince, Erin E. Holsinger, Matthew J.
    Spittal, Garen J. Wintemute, and Matthew Miller).
    Viral Voting: Social Networks and Political Participation, 2020, Quarterly Journal of Political Science (with
    Nick Eubank, Guy Grossman, and Melina Platas).
    It Takes a Village: Peer Effects and Externalities in Technology Adoption, 2020, American Journal of
    Political Science (with Romain Ferrali, Guy Grossman, and Melina Platas). Winner, 2020 Best Conference
    Paper Award, American Political Science Association Network Section.
    Assembly of the LongSHOT Cohort: Public Record Linkage on a Grand Scale, 2019, Injury Prevention
    (with Yifan Zhang, Erin Holsinger, Lea Prince, Sonja Swanson, Matthew Miller, Garen Wintemute, and
    David Studdert).
    Crowdsourcing Accountability: ICT for Service Delivery, 2018, World Development 112: 74-87 (with Guy
    Grossman and Melina Platas).
    Geography, Uncertainty, and Polarization, 2018, Political Science Research and Methods doi:10.1017/
    psrm.2018.12 (with Nolan McCarty, Boris Shor, Chris Tausanovitch, and Chris Warshaw).
    Handgun Acquisitions in California after Two Mass Shootings, 2017, Annals of Internal Medicine 166(10):698-
    706. (with David Studdert, Yifan Zhang, Rob Hyndman, and Garen Wintemute).
    Cutting Through the Thicket: Redistricting Simulations and the Detection of Partisan Gerrymanders,
    2015, Election Law Journal 14,4:1-15 (with Jowei Chen).
    The Achilles Heel of Plurality Systems: Geography and Representation in Multi-Party Democracies,
    2015, American Journal of Political Science 59,4: 789-805 (with Ernesto Calvo). Winner, Michael Waller-
    stein Award for best paper in political economy, American Political Science Association.

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    Why has U.S. Policy Uncertainty Risen Since 1960?, 2014, American Economic Review: Papers and Pro-
    ceedings May 2014 (with Nicholas Bloom, Brandice Canes-Wrone, Scott Baker, and Steven Davis).

    Unintentional Gerrymandering: Political Geography and Electoral Bias in Legislatures, 2013, Quarterly
    Journal of Political Science 8: 239-269 (with Jowei Chen).
    How Should We Measure District-Level Public Opinion on Individual Issues?, 2012, Journal of Politics
    74, 1: 203-219 (with Chris Warshaw).

    Representation and Redistribution in Federations, 2011, Proceedings of the National Academy of Sciences
    108, 21:8601-8604 (with Tiberiu Dragu).

    Dual Accountability and the Nationalization of Party Competition: Evidence from Four Federatons,
    2011, Party Politics 17, 5: 629-653 (with Erik Wibbels).

    The Geographic Distribution of Political Preferences, 2010, Annual Review of Political Science 13: 297–340.

    Fiscal Decentralization and the Business Cycle: An Empirical Study of Seven Federations, 2009, Eco-
    nomics and Politics 22,1: 37–67 (with Erik Wibbels).

    Getting into the Game: Legislative Bargaining, Distributive Politics, and EU Enlargement, 2009, Public
    Finance and Management 9, 4 (with Deniz Aksoy).

    The Strength of Issues: Using Multiple Measures to Gauge Preference Stability, Ideological Constraint,
    and Issue Voting, 2008. American Political Science Review 102, 2: 215–232 (with Stephen Ansolabehere
    and James Snyder).

    Does Religion Distract the Poor? Income and Issue Voting Around the World, 2008, Comparative Political
    Studies 41, 4: 437–476 (with Ana Lorena De La O).
    Purple America, 2006, Journal of Economic Perspectives 20,2 (Spring): 97–118 (with Stephen Ansolabehere
    and James Snyder).

    Economic Geography and Economic Voting: Evidence from the U.S. States, 2006, British Journal of
    Political Science 36, 3: 527–47 (with Michael Ebeid).

    Distributive Politics in a Federation: Electoral Strategies, Legislative Bargaining, and Government
    Coalitions, 2004, Dados 47, 3 (with Marta Arretche, in Portuguese).

    Comparative Federalism and Decentralization: On Meaning and Measurement, 2004, Comparative Poli-
    tics 36, 4: 481-500. (Portuguese version, 2005, in Revista de Sociologia e Politica 25).
    Reviving Leviathan: Fiscal Federalism and the Growth of Government, 2003, International Organization
    57 (Fall), 695–729.
    Beyond the Fiction of Federalism: Macroeconomic Management in Multi-tiered Systems, 2003, World
    Politics 54, 4 (July): 494–531 (with Erik Wibbels).

    The Dilemma of Fiscal Federalism: Grants and Fiscal Performance around the World, 2002, American
    Journal of Political Science 46(3): 670–687.

    Strength in Numbers: Representation and Redistribution in the European Union, 2002, European Union
    Politics 3, 2: 151–175.

    Does Federalism Preserve Markets? Virginia Law Review 83, 7 (with Susan Rose-Ackerman). Spanish
    version, 1999, in Quorum 68.



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  Working Papers
    Elections, Political Polarization, and Economic Uncertainty, NBER Working Paper 27961 (with Scott
    Baker, Aniket Baksy, Nicholas Bloom, and Steven Davis).

    Federalism and Inter-regional Redistribution, Working Paper 2009/3, Institut d’Economia de Barcelona.

    Representation and Regional Redistribution in Federations, Working Paper 2010/16, Institut d’Economia
    de Barcelona (with Tiberiu Dragu).

  Chapters in Books
    Political Geography and Representation: A Case Study of Districting in Pennsylvania (with Thomas
    Weighill), in Political Geometry, edited by Moon Duchin and Olivia Walch, forthcoming 2021, Springer.

    Keeping Your Enemies Close: Electoral Rules and Partisan Polarization, in The New Politics of Insecurity,
    edited by Frances Rosenbluth and Margaret Weir, forthcoming 2021, Cambridge University Press.
    Decentralized Rule and Revenue, 2019, in Jonathan Rodden and Erik Wibbels, eds., Decentralized Gov-
    ernance and Accountability, Cambridge University Press.

    Geography and Gridlock in the United States, 2014, in Nathaniel Persily, ed. Solutions to Political
    Polarization in America, Cambridge University Press.

    Can Market Discipline Survive in the U.S. Federation?, 2013, in Daniel Nadler and Paul Peterson, eds,
    The Global Debt Crisis: Haunting U.S. and European Federalism, Brookings Press.

    Market Discipline and U.S. Federalism, 2012, in Peter Conti-Brown and David A. Skeel, Jr., eds, When
    States Go Broke: The Origins, Context, and Solutions for the American States in Fiscal Crisis, Cambridge
    University Press.

    Federalism and Inter-Regional Redistribution, 2010, in Nuria Bosch, Marta Espasa, and Albert Sole
    Olle, eds., The Political Economy of Inter-Regional Fiscal Flows, Edward Elgar.
    Back to the Future: Endogenous Institutions and Comparative Politics, 2009, in Mark Lichbach and
    Alan Zuckerman, eds., Comparative Politics: Rationality, Culture, and Structure (Second Edition), Cam-
    bridge University Press.

    The Political Economy of Federalism, 2006, in Barry Weingast and Donald Wittman, eds., Oxford Hand-
    book of Political Economy, Oxford University Press.

    Fiscal Discipline in Federations: Germany and the EMU, 2006, in Peter Wierts, Servaas Deroose, Elena
    Flores and Alessandro Turrini, eds., Fiscal Policy Surveillance in Europe, Palgrave MacMillan.

    The Political Economy of Pro-cyclical Decentralised Finance (with Erik Wibbels), 2006, in Peter Wierts,
    Servaas Deroose, Elena Flores and Alessandro Turrini, eds., Fiscal Policy Surveillance in Europe, Palgrave
    MacMillan.

    Globalization and Fiscal Decentralization, (with Geoffrey Garrett), 2003, in Miles Kahler and David
    Lake, eds., Governance in a Global Economy: Political Authority in Transition, Princeton University Press:
    87-109. (Updated version, 2007, in David Cameron, Gustav Ranis, and Annalisa Zinn, eds., Globalization
    and Self-Determination: Is the Nation-State under Siege? Routledge.)

    Introduction and Overview (Chapter 1), 2003, in Rodden et al., Fiscal Decentralization and the Challenge
    of Hard Budget Constraints (see above).



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     Soft Budget Constraints and German Federalism (Chapter 5), 2003, in Rodden, et al, Fiscal Decentral-
     ization and the Challenge of Hard Budget Constraints (see above).
     Federalism and Bailouts in Brazil (Chapter 7), 2003, in Rodden, et al., Fiscal Decentralization and the
     Challenge of Hard Budget Constraints (see above).
     Lessons and Conclusions (Chapter 13), 2003, in Rodden, et al., Fiscal Decentralization and the Challenge
     of Hard Budget Constraints (see above).

  Online Interactive Visualization
     Stanford Election Atlas, 2012 (collaboration with Stephen Ansolabehere at Harvard and Jim Herries at
     ESRI)

  Other Publications
     Supporting Advanced Manufacturing in Alabama, Report to the Alabama Innovation Commission,
     Hoover Institution, 2021.
     How America’s Urban-Rural Divide has Shaped the Pandemic, 2020, Foreign Affairs, April 20, 2020.
     An Evolutionary Path for the European Monetary Fund? A Comparative Perspective, 2017, Briefing
     paper for the Economic and Financial Affairs Committee of the European Parliament.
     Representation and Regional Redistribution in Federations: A Research Report, 2009, in World Report
     on Fiscal Federalism, Institut d’Economia de Barcelona.
     On the Migration of Fiscal Sovereignty, 2004, PS: Political Science and Politics July, 2004: 427–431.
     Decentralization and the Challenge of Hard Budget Constraints, PREM Note 41, Poverty Reduction and
     Economic Management Unit, World Bank, Washington, D.C. (July).
     Decentralization and Hard Budget Constraints, APSA-CP (Newsletter of the Organized Section in
     Comparative Politics, American Political Science Association) 11:1 (with Jennie Litvack).
     Book Review of The Government of Money by Peter Johnson, Comparative Political Studies 32,7: 897-900.


  Fellowships, Honors, and Grants
     John Simon Guggenheim Memorial Foundation Fellowship, 2021.
     Martha Derthick Award of the American Political Science Association for “the best book published at
     least ten years ago that has made a lasting contribution to the study of federalism and intergovern-
     mental relations,” 2021.
     National Institutes of Health, funding for “Relationship between lawful handgun ownership and risk
     of homicide victimization in the home,” 2021.
     National Collaborative on Gun Violence Research, funding for “Cohort Study Of Firearm-Related Mor-
     tality Among Cohabitants Of Handgun Owners.” 2020.
     Fund for a Safer Future, Longitudinal Study of Handgun Ownership and Transfer (LongSHOT),
     GA004696, 2017-2018.
     Stanford Institute for Innovation in Developing Economies, Innovation and Entrepreneurship research
     grant, 2015.

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    Michael Wallerstein Award for best paper in political economy, American Political Science Association,
    2016.
    Common Cause Gerrymandering Standard Writing Competition, 2015.
    General support grant from the Hewlett Foundation for Spatial Social Science Lab, 2014.
    Fellow, Institute for Research in the Social Sciences, Stanford University, 2012.
    Sloan Foundation, grant for assembly of geo-referenced precinct-level electoral data set (with Stephen
    Ansolabehere and James Snyder), 2009-2011.
    Hoagland Award Fund for Innovations in Undergraduate Teaching, Stanford University, 2009.
    W. Glenn Campbell and Rita Ricardo-Campbell National Fellow, Hoover Institution, Stanford Univer-
    sity, beginning Fall 2010.
    Research Grant on Fiscal Federalism, Institut d‘Economia de Barcelona, 2009.
    Fellow, Institute for Research in the Social Sciences, Stanford University, 2008.
    United Postal Service Foundation grant for study of the spatial distribution of income in cities, 2008.
    Gregory Luebbert Award for Best Book in Comparative Politics, 2007.
    Fellow, Center for Advanced Study in the Behavioral Sciences, 2006-2007.
    National Science Foundation grant for assembly of cross-national provincial-level dataset on elections,
    public finance, and government composition, 2003-2004 (with Erik Wibbels).
    MIT Dean‘s Fund and School of Humanities, Arts, and Social Sciences Research Funds.
    Funding from DAAD (German Academic Exchange Service), MIT, and Harvard EU Center to organize
    the conference, ”European Fiscal Federalism in Comparative Perspective,” held at Harvard University,
    November 4, 2000.
    Canadian Studies Fellowship (Canadian Federal Government), 1996-1997.
    Prize Teaching Fellowship, Yale University, 1998-1999.
    Fulbright Grant, University of Leipzig, Germany, 1993-1994.
    Michigan Association of Governing Boards Award, one of two top graduating students at the Univer-
    sity of Michigan, 1993.
    W. J. Bryan Prize, top graduating senior in political science department at the University of Michigan,
    1993.


  Other Professional Activities
    Selection committee, best paper award, American Journal of Political Science.
    International Advisory Committee, Center for Metropolitan Studies, Sao Paulo, Brazil, 2006–2010.
    Selection committee, Mancur Olson Prize awarded by the American Political Science Association Po-
    litical Economy Section for the best dissertation in the field of political economy.
    Selection committee, Gregory Luebbert Best Book Award.
    Selection committee, William Anderson Prize, awarded by the American Political Science Association
    for the best dissertation in the field of federalism and intergovernmental relations.

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  Courses
  Undergraduate
    Politics, Economics, and Democracy
    Introduction to Comparative Politics
    Introduction to Political Science
    Political Science Scope and Methods
    Institutional Economics
    Spatial Approaches to Social Science

  Graduate
    Political Economy
    Political Economy of Institutions
    Federalism and Fiscal Decentralization
    Politics and Geography


  Consulting
    2017. Economic and Financial Affairs Committee of the European Parliament.
    2016. Briefing paper for the World Bank on fiscal federalism in Brazil.
    2013-2018: Principal Investigator, SMS for Better Governance (a collaborative project involving USAID,
    Social Impact, and UNICEF in Arua, Uganda).
    2019: Written expert testimony in McLemore, Holmes, Robinson, and Woullard v. Hosemann, United States
    District Court, Mississippi.
    2019: Expert witness in Nancy Corola Jacobson v. Detzner, United States District Court, Florida.
    2018: Written expert testimony in League of Women Voters of Florida v. Detzner No. 4:18-cv-002510,
    United States District Court, Florida.
    2018: Written expert testimony in College Democrats of the University of Michigan, et al. v. Johnson, et al.,
    United States District Court for the Eastern District of Michigan.
    2017: Expert witness in Bethune-Hill v. Virginia Board of Elections, No. 3:14-CV-00852, United States
    District Court for the Eastern District of Virginia.
    2017: Expert witness in Arizona Democratic Party, et al. v. Reagan, et al., No. 2:16-CV-01065, United
    States District Court for Arizona.
    2016: Expert witness in Lee v. Virginia Board of Elections, 3:15-cv-357, United States District Court for
    the Eastern District of Virginia, Richmond Division.
    2016: Expert witness in Missouri NAACP v. Ferguson-Florissant School District, United States District
    Court for the Eastern District of Missouri, Eastern Division.


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    2014-2015: Written expert testimony in League of Women Voters of Florida et al. v. Detzner, et al., 2012-CA-
    002842 in Florida Circuit Court, Leon County (Florida Senate redistricting case).

    2013-2014: Expert witness in Romo v Detzner, 2012-CA-000412 in Florida Curcuit Court, Leon County
    (Florida Congressional redistricting case).
    2011-2014: Consultation with investment groups and hedge funds on European debt crisis.

    2011-2014: Lead Outcome Expert, Democracy and Governance, USAID and Social Impact.

    2010: USAID, Review of USAID analysis of decentralization in Africa.

    2006–2009: World Bank, Independent Evaluations Group. Undertook evaluations of World Bank de-
    centralization and safety net programs.

    2008–2011: International Monetary Fund Institute. Designed and taught course on fiscal federalism.

    1998–2003: World Bank, Poverty Reduction and Economic Management Unit. Consultant for World De-
    velopment Report, lecturer for training courses, participant in working group for assembly of decentral-
    ization data, director of multi-country study of fiscal discipline in decentralized countries, collaborator
    on review of subnational adjustment lending.



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                               IN THE SUPREME COURT OF OHIO

   Bria Bennett, et al.,
                                                        Case No. ______________________
                   Relators,
                                                        Original Action Filed Pursuant to Ohio
   v.                                                   Constitution, Article XI, Section 9(A)

   Ohio Redistricting Commission, et al.,               [Apportionment Case Pursuant to S. Ct.
                                                        Prac. R. 14.03]
                   Respondents.



                           AFFIDAVIT OF DR. JONATHAN RODDEN


          I, Jonathan Rodden, having been duly sworn and cautioned according to law, hereby state
  that I am over the age of eighteen years and am competent to testify to the facts set forth below
  based on my personal knowledge and having personally examined all records referenced in this
  affidavit, and further state as follows:

  1.    I am currently a tenured Professor of Political Science at Stanford University and the founder
        and director of the Stanford Spatial Social Science Lab—a center for research and teaching
        with a focus on the analysis of geo-spatial data in the social sciences. I am engaged in a
        variety of research projects involving large, fine-grained geo-spatial data sets including
        ballots and election results at the level of polling places, individual records of registered
        voters, census data, and survey responses. I am also a senior fellow at the Stanford Institute
        for Economic Policy Research and the Hoover Institution. Prior to my employment at
        Stanford, I was the Ford Professor of Political Science at the Massachusetts Institute of
        Technology. I received my Ph.D. from Yale University and my B.A. from the University of
        Michigan, Ann Arbor, both in political science. A copy of my current C.V. is included as
        Exhibit G.

  2.    In my current academic work, I conduct research on the relationship between the patterns of
        political representation, geographic location of demographic and partisan groups, and the
        drawing of electoral districts. I have published papers using statistical methods to assess
        political geography, balloting, and representation in a variety of academic journals including
        Statistics and Public Policy, Proceedings of the National Academy of Science, American
        Economic Review Papers and Proceedings, the Journal of Economic Perspectives, the
        Virginia Law Review, the American Journal of Political Science, the British Journal of
        Political Science, the Annual Review of Political Science, and the Journal of Politics. One of
        these papers was selected by the American Political Science Association as the winner of the
        Michael Wallerstein Award for the best paper on political economy published in the last year,
        and another received an award from the American Political Science Association section on
        social networks. In 2021, I received a John Simon Guggenheim Memorial Foundation
        Fellowship, and received the Martha Derthick Award of the American Political Science


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       Association for “the best book published at least ten years ago that has made a lasting
       contribution to the study of federalism and intergovernmental relations.”

  3.   I have recently written a series of papers, along with my co-authors, using automated
       redistricting algorithms to assess partisan gerrymandering. This work has been published in
       the Quarterly Journal of Political Science, Election Law Journal, and Political Analysis, and
       it has been featured in more popular publications like the Wall Street Journal, the New York
       Times, and Boston Review. I have recently completed a book, published by Basic Books in
       June of 2019, on the relationship between political districts, the residential geography of
       social groups, and their political representation in the United States and other countries that
       use winner-take-all electoral districts. The book was reviewed in The New York Times, The
       New York Review of Books, Wall Street Journal, The Economist, and The Atlantic, among
       others.

  4.   I have expertise in the use of large data sets and geographic information systems (GIS), and
       conduct research and teaching in the area of applied statistics related to elections. My PhD
       students frequently take academic and private sector jobs as statisticians and data scientists.
       I frequently work with geo-coded voter files and other large administrative data sets,
       including in recent papers published in the Annals of Internal Medicine and The New England
       Journal of Medicine. I have developed a national data set of geo-coded precinct-level election
       results that has been used extensively in policy-oriented research related to redistricting and
       representation.

  5.   I have been accepted and testified as an expert witness in six election law and redistricting
       cases: Romo v. Detzner, No. 2012-CA-000412 (Fla. Cir. Ct. 2012); Mo. State Conference of
       the NAACP v. Ferguson-Florissant Sch. Dist., No. 4:2014-CV-02077 (E.D. Mo. 2014); Lee
       v. Va. State Bd. of Elections, No. 3:15-CV-00357 (E.D. Va. 2015); Democratic Nat’l
       Committee et al. v. Hobbs et al., No. 16-1065-PHX-DLR (D. Ariz. 2016); Bethune-Hill v.
       Virginia State Board of Elections, No. 3:14-cv-00852-REP-AWA-BMK (E.D. Va. 2014);
       and Jacobson et al. v. Lee, No. 4:18-cv-00262 (N.D. Fla. 2018). I also worked with a
       coalition of academics to file Amicus Briefs in the Supreme Court in Gill v. Whitford, No.
       16-1161, and Rucho v. Common Cause, No. 18-422. Much of the testimony in these cases
       had to do with geography, electoral districts, voting, ballots, and election administration. I
       am currently working as a consultant for the Maryland Redistricting Commission. I am being
       compensated at the rate of $550/hour for my work in this case. My compensation is not
       dependent upon my conclusions in any way.

                             I.      INTRODUCTION AND SUMMARY

  6.   For the purpose of this affidavit, I have been asked to examine whether the redistricting plan
       for the Ohio State House of Representatives and Ohio Senate, adopted by the Ohio
       Redistricting Commission on September 16, 2021, and attached as Exhibit A (“2021
       Commission Plan”), complies with the standard set forth in Article XI, Section 6(B), namely,
       that “[t]he statewide proportion of districts whose voters, based on statewide state and federal
       partisan general election results during the last ten years, favor each political party shall
       correspond closely to the statewide preferences of the voters of Ohio.”



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  7.      I demonstrate that this “partisan proportionality” standard was clearly not met by the maps
          adopted by the Ohio Redistricting Commission.

  8.      Furthermore, I have been asked to examine whether the partisan composition of the
          Commission’s maps may have been a result of the Commission’s need to satisfy other
          requirements of the Ohio Constitution: specifically, the requirements to avoid county and
          municipal splits, laid out in Article XI, Sections 3 and 4, and to attempt to draw compact
          districts, as set forth in Article XI, Section 6(C).

  9.      I examine several additional maps that were available to the Commission, and to the public,
          prior to September 15. I demonstrate that these maps were able to abide by the “partisan
          proportionality” clause while also abiding by the strict rules of the Ohio Constitution
          regarding county and municipality splits, and while creating districts with similar or better
          compactness scores than those drawn by the Commission.

                                          II.    DATA SOURCES

  10.     I have collected statewide election data for 2012 to 2020 from the Ohio Secretary of State. I
          also accessed precinct-level election results from the Ohio Secretary of State for statewide
          elections from 2016 to 2020 that were matched to 2020 Ohio vote tabulation districts by a
          team at Harvard University called the Algorithm-Assisted Redistricting Methodology
          Project. 1 Additionally, I accessed the proposed and adopted Ohio redistricting plans
          uploaded to the web page of the Ohio Redistricting Commission, true copies of which are
          attached as Exhibits A, C, D, and E. 2

                       III.     MEASURING PARTISAN PROPORTIONALITY

  11.     The Ohio Constitution instructs the commissioners to use “statewide state and federal
          partisan general election results during the last ten years” to ascertain the “statewide
          preferences of the voters of Ohio,” and attempt to draw a map in which the “statewide
          proportion of districts whose voters favor each party shall correspond closely” to those
          “statewide preferences.”

  12.     As further discussed below, the only reasonable way to implement this notion of “statewide
          preferences,” as ascertained from past elections to anticipated future seat shares, is via the
          proportion of votes received by the candidates for the two parties. That is to say, if a party
          won 50 percent of the average statewide vote in the relevant elections, a proposed map should
          favor that party—aggregating the results of those same elections—in somewhere very close
          to 50 percent of the seats.

  13.     The first task, then, is to establish this target from the last decade of statewide partisan
          election results. Figure 1 provides a visualization of Ohio statewide general election results
          from 2012 to 2020. Ohio is a hotly contested state with a tradition of split-ticket voting and
          significant swings from one year to another. The Democratic candidate won the presidential

  1
      https://alarm-redist.github.io/posts/2021-08-10-census-2020/
  2
      https://redistricting.ohio.gov/maps


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        contest in 2012, but the Republican candidate won in 2016 and 2020. Ohio’s U.S. Senate
        delegation is typically split between the parties, and other statewide elections are often very
        competitive, although 2014 was an exception, as was the 2016 U.S. Senate race.

  14.   Figure 1 reveals that while Ohio statewide elections have been mostly quite close over the
        last decade, Republican candidates have held a narrow advantage. To quantify this, Table 1
        provides the raw data. Including all of the statewide general elections from 2012 to 2020, the
        Democratic vote share of the two-party vote (ignoring small parties and write-in candidates)
        was around 45.9 percent.



                    Figure 1: Statewide General Election Outcomes, Ohio, 2012-2020




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                     Table 1: Statewide General Election Outcomes, Ohio, 2012-2020

                                                                                   Two-party
                             Democratic        Republican
                                                                   Other           Democratic
                               Votes             Votes
                                                                                   Vote Share
        2012 President         2,827,709         2,661,439           91,791                51.5%
        2012 U.S. Senate       2,762,766         2,435,744          250,618                53.1%
        2014 Governor          1,009,359         1,944,848          101,706                34.2%
        2014 Att. Gen.         1,178,426         1,882,048                                 38.5%
        2014 Auditor           1,149,305         1,711,927          143,363                40.2%
        2014 Sec. of State     1,074,475         1,811,020          141,292                37.2%
        2014 Treasurer         1,323,325         1,724,060                                 43.4%
        2016 President         2,394,164         2,841,005          261,318                45.7%
        2016 Senate            1,996,908         3,118,567          258,689                39.0%
        2018 Senate            2,358,508         2,057,559            1,017                53.4%
        2018 Governor          2,070,046         2,235,825          129,949                48.1%
        2018 Att. Gen.         2,086,715         2,276,414                                 47.8%
        2018 Auditor           2,008,295         2,156,663          175,962                48.2%
        2018 Sec. of State     2,052,098         2,214,273          103,585                48.1%
        2018 Treasurer         2,024,194         2,308,425                                 46.7%
        2020 President         2,679,165         3,154,834           88,203                45.9%

        Sum, all elections    30,995,458        36,534,651        1,747,493               45.9%

        Sum, 2016-2020        19,670,093        22,363,565        1,018,723               46.8%


  15.   Determining the proportion of districts that favor each party, as set forth in Article XI,
        Section 6, requires an aggregation of the precinct-level results of these past elections to the
        boundaries of its proposed districts. However, precinct-level election results linked with geo-
        spatial boundaries were not available for the 2012 and 2014 elections, as the Commission
        itself acknowledged in its Article XI, Section 8(C)(2) Statement, attached as Exhibit F. Thus,
        Table 1 also sets forth that the two-party Democratic vote share in 2016, 2018, and 2020
        general elections was around 47 percent.

  16.   Accordingly, using the full statewide election results from 2012 to 2020, the Ohio
        Constitution requires the Commission to attempt to draw state legislative maps in which 45.9
        percent of seats favor Democrats and 54.1 percent of seats favor Republican. Since there are
        99 seats in the Ohio House of Representatives, a statewide vote share of 45.9 percent would
        be associated with 45.44 Democratic seats, which rounds down to 45 seats. Similarly, a 45.9
        percent vote share would be associated with about 15.15 Democratic seats in the 33-member
        Ohio Senate, which rounds down to 15 seats.



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  17.   I have aggregated the precinct-level results of each election from 2016 to 2020 included in
        Table 1 to the level of the districts in the 2021 Commission Plan. For each district, I calculate
        the average Democratic share of the votes received by the candidates of the two major parties
        across each of these elections. I then ascertain the number of districts in which this quantity
        is greater than 50 percent. Using this technique, I ascertain that the 2021 Commission Plan
        produced 37 majority-Democratic House seats and 62 majority-Republican House seats, as
        shown in Table 2 below. In the Senate, the 2021 Commission Plan produced 10 majority-
        Democratic Senate seats and 23 majority-Republican seats. This is a gap of 8 House seats
        and 5 Senate seats between the Democratic-leaning seats produced by the 2021 Commission
        Plan and the seat share that would be proportionate to the statewide Democratic vote share.

  18.   Notably, the partisanship of the Commission’s maps is not very different from that of the
        current maps, adopted in 2011 and attached as Exhibit B. The current breakdown of the
        General Assembly under the 2011 maps is as follows: 35 Democrats and 64 Republicans in
        the House; 8 Democrats and 25 Republicans in the Senate.

  19.   In addition to this examination of seats above and below the 50 percent cut-point, it is also
        useful to examine how many of the Democratic- and Republican-leaning seats are razor-thin
        majorities, and how many are more comfortable majorities. I count the number of seats where
        the average Democratic share of the vote for the two major parties was less than 48 percent—
        let us call these expected Republican seats. And I count the number of seats where the
        average Democratic share of the vote for the two major parties was greater than 52 percent—
        let us call these expected Democratic seats. Finally, I count the number of seats that we might
        call “tossups,” where the average Democratic vote share was between 48 percent and 52
        percent.

  20.   As set forth in Table 2 below, in the 2021 Commission Plan, all of the majority-Republican
        House seats are greater than 52 percent Republican. Of the 37 majority-Democratic seats,
        only 32 are greater than 52 percent Democratic. All five of the “toss-up” seats are slim
        Democratic majorities. In the Commission’s Senate plan, there are 21 expected Republican
        seats, 9 expected Democratic seats, and three “toss-ups.”

  21.   In its Article XI, Section 8(C)(2) Statement, the Commission explained its ostensible attempt
        to comply with the “partisan proportionality” requirement in the Ohio Constitution. In this
        statement, the Ohio Redistricting Commission offers an unsound implementation of the
        constitutional requirement, suggesting that “statewide preferences” can be measured as the
        share of all elections in which each party received more votes than the other party. This is a
        flawed way of characterizing voter preferences in general, but especially when the purpose
        is to evaluate seat shares. With this interpretation, a party that always wins 50.01 percent of
        the vote in general elections would be viewed as having 100 percent of the “statewide
        preference,” entitling it to draw a map that gave itself all of the seats, a patently absurd
        outcome.

  22.   Consider, for example, a situation in which the United States adopted Ohio’s constitutional
        amendment for U.S. House of Representatives districts. The only nationwide elections are
        presidential elections, for which Democratic candidates have won a majority of popular votes
        in each election since 2004, although many of these elections were extremely close. By the


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        Commission’s logic, voters preferred Democratic candidates 100 percent of the time, and
        would therefore be entitled to 100 percent of the seats in Congress. This is simply not a
        tenable notion of voter preferences. In the vast academic literature on votes and seats, I have
        never encountered the notion that the seat share should correspond to the share of past
        elections in which a party received a plurality. Rather, the Ohio Constitution is clearly
        invoking the notion of voter preferences used by academics, pundits, and everyone else: the
        vote share.

        IV.   COMPARING THE COMMISSION’S MAPS TO ALTERNATIVE MAPS
                         PRESENTED TO THE COMMISSION

  23.   It is clearly the case that the 2021 Commission Plan deviates significantly from any
        reasonable interpretation of the Ohio Constitution’s partisan fairness requirement. But one
        might imagine that the partisan composition of the Commission’s maps was a function of
        constraints imposed by other constitutional requirements related to so-called “traditional
        redistricting principles” that the Commission understood to be more important.

  24.   In fact, the next line after the “partisan proportionality” clause dictates that the Commission
        “shall attempt” to draw compact districts. One might wonder whether the Commission found
        it difficult to achieve partisan proportionality because of a tension between that goal and the
        additional goal of drawing compact districts. Moreover, the Constitution requires that the
        Commission use entire counties, municipal corporations, and townships as the building
        blocks of districts to the extent possible. Counties with population greater than that which is
        sufficient for a single district must spill into only a single additional district. The Commission
        must also endeavor not to split counties more than once, and not to split more than one
        municipality per district. One might imagine that efforts to abide by these requirements made
        it difficult for the Commission to achieve partisan proportionality.

  25.   A simple and effective way to examine such assumptions is to examine other maps that had
        been made available to the Commission before it finalized its own maps. Did those maps
        come closer to achieving partisan proportionality while abiding by the same rules and
        achieving similar benchmarks with respect to the traditional redistricting principles
        emphasized in the Constitution? If so, one cannot accept the claim that the Commission was
        forced by restrictive rules into drawing maps with a large advantage for one party.

  26.   I have therefore aggregated precinct-level election results to the level of proposed districts
        for a map introduced by Senator Sykes on September 2, attached as Exhibit C. An additional
        map was proposed by a group called the “Ohio Citizens Redistricting Commission” and is
        attached as Exhibit E. Based on my review, these maps are fully compliant with the line-
        drawing rules explained above, as set forth in Article XI, Sections 3 and 4 of the Ohio
        Constitution.

  27.   For each of these maps, as well as the 2021 Commission Plan and maps the Commission
        initially proposed, attached as Exhibit D, I have also produced compactness scores for the
        districts to assess the maps’ compliance with Article XI, Section 6(C). I have included Reock,
        Polsby-Popper, and Convex Hull compactness measures, each of which takes a somewhat
        different approach to the notion of district compactness.


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  28.   Although the Ohio Constitution does not specify the optimal number of county splits, I have
        also calculated the number of county splits generated by each plan. I define a county split in
        the same way as the Ohio Constitution. For example, Franklin County is not considered to
        be split in a House of Representatives plan if 11 districts are formed that fit completely within
        the county, and no fragment of any district spills over the county boundary. Moreover, a
        county that is kept intact but joined together with other “split” counties is not considered a
        split county. A county is only considered to be split if some part—but not all—of its territory
        is joined with territory from another county in the formation of a district.

  29.   In Table 2 below, I provide compactness scores and information on county splits for each of
        the Ohio House of Representatives plans I analyzed. Next, using the same technique
        described above, I include the number of majority-Democratic districts, majority-Republican
        districts, expected Democratic districts, expected Republican districts, and “toss-up” districts
        that would be produced by each plan.

  30.   First, in terms of compactness, the 2021 Commission Plan was similar to the plans submitted
        by Senator Sykes and the Citizens’ Commission. If anything, the plan produced by the
        Citizens’ Commission was on average more compact, according to both the Polsby-Popper
        and Convex Hull scores, and Senator Sykes’s plan was slightly more compact according to
        its Polsby-Popper score.

  31.   The Commission’s House map splits 33 counties. The Citizens’ Commission splits a greater
        number of counties (43) than does the Ohio Redistricting Commission, while Senator
        Sykes’s House map splits fewer counties (only 30).

  32.   Next, let us examine the partisan outcomes associated with these alternative plans. The
        relevant information is contained in Table 2. The plan submitted by Senator Sykes came very
        close to achieving partisan proportionality. It produced 44 majority-Democratic seats and 55
        majority-Republican seats—a difference from proportionality of only one seat. The plan
        produced by the Citizens’ Commission produced 43 Democratic seats and 56 Republican
        seats—a difference from proportionality of only 2 seats. Again, the distance from
        proportionality in the Ohio Redistricting Commission’s final House map was 8 seats.

  33.   In short, Senator Sykes’s plan for the Ohio House of Representatives does just as well—in
        fact a little better—than the Commission’s House map at abiding by the traditional
        redistricting criteria emphasized in the Ohio Constitution, and it also comes much closer to
        achieving the required partisan proportionality. This indicates that the failure of the 2021
        Commission Plan to achieve partisan proportionality and its overall favorability to
        Republicans was an intentional choice, rather than a natural outgrowth of other constraints.




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               Table 2: Summary Information, Ohio House of Representative Plans
                          Submitted to Ohio Redistricting Commission
                                            Commission   Commission   Sykes    Citizens
                                               9/16         9/9        9/2      9/10
       Average compactness scores
       (Higher scores = more compact)
       Reock                                      0.40         0.40    0.40       0.40
       Polsby-Popper                              0.30         0.30    0.31       0.34
       Area/Convex Hull                           0.74         0.73    0.74       0.76


       Number of split counties                     33           33      30         43



       # of seats with average two-party
       Democratic vote share >.5                    37           32      44         43
       Expressed as percentage of seats         37.4%        32.3%    44.4%     43.4%


       # of seats with average two-party
       Republican vote share >.5                    62           67      55         56
       Expressed as percentage of seats         62.6%        67.7%    55.6%     56.6%


       Distance from proportional seat
       allocation (seats)                            8           13       1          2
       Expressed as percentage of seats          8.1%        13.1%     1.0%      2.0%



       # of seats with average two-party
       Democratic vote share >.52                   32           31       41        42
       Expressed as a percentage of seats       32.3%        31.3%    41.4%     42.4%


       # of seats with average two-party
       Democratic vote share <.48                   62           63      54         54
       Expressed as percentage of seats         62.6%        63.6%    54.5%     54.5%


       # of seats with average two-party
       Democratic vote share between .48
       and .52                                       5            5       4          3
       Expressed as percentage of seats          5.1%         5.1%     4.0%      3.0%




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                         Table 3: Summary Information, Ohio Senate Plans
                           Submitted to Ohio Redistricting Commission
                                             Commission   Commission   Sykes    Citizens
                                                9/16         9/9        9/2      9/10
        Average compactness scores
        (Higher scores = more compact)
        Reock                                      0.39         0.39    0.39       0.43
        Polsby-Popper                              0.31         0.31    0.31       0.37
        Area/Convex Hull                           0.73         0.72    0.73       0.78


        Number of split counties                     13           13       16        18



        # of seats with average two-party
        Democratic vote share >.5                    10            9       14        14
        Expressed as percentage of seats         30.3%        27.3%    42.4%     42.4%


        # of seats with average two-party
        Republican vote share >.5                    23           24       19        19
        Expressed as percentage of seats         69.7%        72.7%    57.6%     57.6%


        Distance from proportional seat
        allocation (seats)                            5            6       1          1
        Expressed as percentage of seats         15.2%        18.2%     3.0%      3.0%



        # of seats with average two-party
        Democratic vote share >.52                   9            8        13        12
        Expressed as a percentage of seats        9.1%         8.1%    13.1%     12.1%


        # of seats with average two-party
        Democratic vote share <.48                   21           21       18        18
        Expressed as percentage of seats         63.6%        63.6%    54.5%     54.5%


        # of seats with average two-party
        Democratic vote share between .48
        and .52                                       3            4       2          3
        Expressed as percentage of seats          3.0%         4.0%     2.0%      3.0%




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  34.   Next, let us undertake a similar comparison of the Ohio Redistricting Commission’s Senate
        map with those submitted by Senator Sykes and the Citizens’ Commission. The key
        information is contained in Table 3.

  35.   Once again, the plan presented by Senator Sykes demonstrated a similar level of average
        compactness as the Commission’s map on each of the three metrics I considered. And again,
        the plans produced by the Citizens’ Commission were more compact. Relative to the
        Commission’s Senate map, the Sykes map split three additional counties, and the Citizens’
        map split five additional counties.

  36.   The Commission’s Senate map produces only 10 majority-Democratic seats and 23 majority-
        Republican Seats. In contrast, both the Sykes plan and the Citizens’ Commission plan
        produced 14 Democratic seats and 19 Republican seats. Recall that the target set forth by the
        Constitution was 15 Democratic seats, meaning that both plans came within a single seat of
        the target. Again, as with the House of Representatives, these alternative maps demonstrate
        that for the Senate as well, it is possible to abide both by the Ohio Constitution’s traditional
        redistricting requirements as well as its partisan proportionality requirement. The fact that
        the Commission’s map strongly favors the Republican Party is the result of discretionary
        choices made by the Commission and reflects that the Commission did not attempt to achieve
        partisan proportionality.

                                           V.      CONCLUSION

  37.   The 2021 Commission Plan does not comply with the partisan proportionality requirement
        set forth in Article XI, Section 6(B).

  38.   The 2021 Commission Plan favors Republicans for reasons other than traditional
        redistricting criteria and the Ohio Constitution’s other requirements, as demonstrated by
        alternative maps presented to the Commission—which achieve greater partisan
        proportionality and are relatively similar, and in some cases slightly better, according to
        traditional redistricting criteria.

  39. I have read the Complaint filed in this action and affirm that the factual allegations contained
      in paragraphs 50, 88, 98, 118, 125-128, 134-135, 137-141, 143 are true.


                        JURAT                                   _______________________________
                                STATE OF FLORIDA                Jonathan Rodden
                                COUNTY OF SAINT LUCIE
  Sworn to before me this _______
                            24th  day of September, 2021.
            By Jonathan Andrew Rodden                           Form of ID Produced: Driver's License

  __________________________________
  Notary Public
                  Darrell Dwayne Evans




                         01/19/2025
  My commission expires ______________________________

                                         Notarized online using audio-video communication
                                                                                                        11
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                              Exhibit
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                             Ohio House Districts 2012-2022
                                                                   (As Adopted 2012)
District 01 Counties                  District 33 Counties                      •    A portion of Warren County      District 84 Counties
  •    Wayne County                     •    A portion of Hamilton County     District 63 Counties                     •    Mercer County
District 02 Counties                  District 34 Counties                      •    A portion of Trumbull County      •    A portion of Auglaize County
  •    Richland County                  •    A portion of Summit County       District 64 Counties                     •    A portion of Darke County
District 03 Counties                  District 35 Counties                      •    A portion of Ashtabula County     •    A portion of Shelby County
  •    Wood County                      •    A portion of Summit County         •    A portion of Trumbull County    District 85 Counties
District 04 Counties                  District 36 Counties                    District 65 Counties                     •    Champaign County
  •    Allen County                     •    A portion of Summit County         •    A portion of Clermont County      •    A portion of Logan County
District 05 Counties                  District 37 Counties                    District 66 Counties                     •    A portion of Shelby County
  •    Columbiana County                •    A portion of Summit County         •    Brown County                    District 86 Counties
District 06 Counties                  District 38 Counties                      •    A portion of Clermont County      •    Union County
  •    A portion of Cuyahoga County     •    A portion of Stark County        District 67 Counties                     •    A portion of Marion County
District 07 Counties                    •    A portion of Summit County         •    A portion of Delaware County    District 87 Counties
  •    A portion of Cuyahoga County   District 39 Counties                    District 68 Counties                     •    Crawford County
District 08 Counties                    •    A portion of Montgomery County     •    Knox County                       •    Morrow County
  •    A portion of Cuyahoga County   District 40 Counties                      •    A portion of Delaware County      •    Wyandot County
District 09 Counties                    •    A portion of Montgomery County   District 69 Counties                     •    A portion of Marion County
  •    A portion of Cuyahoga County   District 41 Counties                      •    A portion of Medina County        •    A portion of Seneca County
District 10 Counties                    •    A portion of Montgomery County   District 70 Counties                   District 88 Counties
  •    A portion of Cuyahoga County   District 42 Counties                      •    Ashland County                    •    Sandusky County
                                        •    A portion of Montgomery County     •    A portion of Holmes County        •    A portion of Seneca County
District 11 Counties
  •    A portion of Cuyahoga County   District 43 Counties                      •    A portion of Medina County      District 89 Counties
                                        •    Preble County                    District 71 Counties                     •    Erie County
District 12 Counties
                                        •    A portion of Montgomery County     •    A portion of Licking County       •    Ottawa County
  •    A portion of Cuyahoga County
District 13 Counties                  District 44 Counties                    District 72 Counties                   District 90 Counties
                                        •    A portion of Lucas County          •    Coshocton County                  •    Adams County
  •    A portion of Cuyahoga County
                                                                                •    Perry County                      •    Scioto County
District 14 Counties                  District 45 Counties
                                                                                •    A portion of Licking County       •    A portion of Lawrence County
  •    A portion of Cuyahoga County     •    A portion of Lucas County
                                      District 46 Counties                    District 73 Counties                   District 91 Counties
District 15 Counties
                                                                                •    A portion of Greene County        •    Clinton County
  •    A portion of Cuyahoga County     •    A portion of Lucas County
                                                                              District 74 Counties                     •    Highland County
District 16 Counties                  District 47 Counties
                                                                                •    Madison County                    •    Pike County
  •    A portion of Cuyahoga County     •    A portion of Fulton County
                                                                                •    A portion of Clark County         •    A portion of Ross County
District 17 Counties                    •    A portion of Lucas County
                                                                                •    A portion of Greene County      District 92 Counties
  •    A portion of Franklin County   District 48 Counties
                                                                              District 75 Counties                     •    Fayette County
District 18 Counties                    •    A portion of Stark County
                                                                                •    A portion of Portage County       •    A portion of Pickaway County
  •    A portion of Franklin County   District 49 Counties                                                             •    A portion of Ross County
District 19 Counties                    •    A portion of Stark County        District 76 Counties
                                                                                •    A portion of Geauga County      District 93 Counties
  •    A portion of Franklin County   District 50 Counties                                                             •    Gallia County
                                        •    A portion of Stark County          •    A portion of Portage County
District 20 Counties                                                                                                   •    Jackson County
  •    A portion of Franklin County   District 51 Counties                    District 77 Counties
                                                                                •                                      •    A portion of Lawrence County
District 21 Counties                    •    A portion of Butler County                                                •    A portion of Vinton County
  •    A portion of Franklin County   District 52 Counties                    District 78 Counties
                                                                                •    Hocking County                  District 94 Counties
District 22 Counties                    •    A portion of Butler County                                                •    Meigs County
                                      District 53 Counties                      •    Morgan County
  •    A portion of Franklin County                                                                                    •    A portion of Athens County
                                        •    A portion of Butler County         •    A portion of Athens County
District 23 Counties                                                                                                   •    A portion of Vinton County
                                                                                •
  •    A portion of Franklin County   District 54 Counties                                                             •    A portion of Washington County
                                                                                •    A portion of Muskingum County
District 24 Counties                    •    A portion of Butler County                                              District 95 Counties
                                                                                •    A portion of Pickaway County
  •    A portion of Franklin County     •    A portion of Warren County                                                •    Carroll County
                                      District 55 Counties                    District 79 Counties
District 25 Counties                                                            •    A portion of Clark County         •    Harrison County
  •    A portion of Franklin County     •    A portion of Lorain County                                                •    Noble County
                                      District 56 Counties                    District 80 Counties
District 26 Counties                                                            •    Miami County
                                                                                                                       •    A portion of Belmont County
  •    A portion of Franklin County     •    A portion of Lorain County                                                •    A portion of Washington County
                                                                                •    Darke County
District 27 Counties                  District 57 Counties                                                           District 96 Counties
                                        •    Huron County
                                                                              District 81 Counties
  •    A portion of Hamilton County                                                                                    •    Jefferson County
                                                                                •    Henry County
District 28 Counties                    •    A portion of Lorain County                                                •    Monroe County
                                                                                •    Putnam County
  •    A portion of Hamilton County   District 58 Counties                                                             •    A portion of Belmont County
                                                                                •    Williams County
District 29 Counties                    •    A portion of Mahoning County                                            District 97 Counties
                                                                                •    A portion of Fulton County
  •    A portion of Hamilton County   District 59 Counties                                                             •    Guernsey County
                                                                              District 82 Counties
District 30 Counties                    •    A portion of Mahoning County                                              •    A portion of Muskingum County
                                                                                •
  •    A portion of Hamilton County   District 60 Counties                      •    Paulding County                 District 98 Counties
District 31 Counties                    •    A portion of Lake County                                                  •    Tuscarawas County
                                                                                •    Van Wert County
  •    A portion of Hamilton County   District 61 Counties                      •    A portion of Auglaize County      •    A portion of Holmes County
District 32 Counties                    •    A portion of Lake County                                                District 99 Counties
                                                                              District 83 Counties
  •    A portion of Hamilton County   District 62 Counties                      •    Hancock County                    •    A portion of Ashtabula County
                                                                                •    Hardin County                     •    A portion of Geauga County
For the most up-to-date and detailed information on each                        •    A portion of Logan County
district, please contact the local county board of elections.                                                                 Last Revised 02/2018
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                         Ohio Senate Districts 2012-2022
                                                       (As Adopted 2012)
D istric t 01 Cou nt i e s                    •                                •
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                                                                            Di s tri c t 24 C ou nti es
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                                           D i st r i c t 1 3 C ou nti es      •
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   •                                                                        Di s tri c t 25 C ou nti es
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   •                                       D i st r i c t 1 4 C ou nti es      •
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                                                                            Di s tri c t 26 C ou nti es
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D istric t 02 Cou nt i e s                 D i st r i c t 1 5 C ou nti es      •
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                                           D i st r i c t 1 6 C ou nti es
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                                              •                             Di s tri c t 27 C ou nti es
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   •                                       D i st r i c t 1 7 C ou nti es
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D istric t 03 Cou nt i e s                                                     •
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                                              •                             Di s tri c t 28 C ou nti es
D istric t 04 Cou nt i e s                    •                                •
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                                                                            Di s tri c t 29 C ou nti es
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D istric t 05 Cou nt i e s                                                     •
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                                              •                             Di s tri c t 30 C ou nti es
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                                           D i st r i c t 1 8 C ou nti es
D istric t 06 Cou nt i e s                                                     •
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D istric t 07 Cou nt i e s                    •
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                                           D i st r i c t 1 9 C ou nti es      •
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D istric t 08 Cou nt i e s
                                           D i st r i c t 2 0 C ou nti es   Di s tri c t 31 C ou nti es
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D istric t 09 Cou nt i e s                    •                                •
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D istric t 10 Cou nt i e s
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   •                                                                        Di s tri c t 32 C ou nti es
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                                           D i st r i c t 2 1 C ou nti es      •
D istric t 11 Cou nt i e s
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                                           D i st r i c t 2 2 C ou nti es   Di s tri c t 33 C ou nti es
D istric t 12 Cou nt i e s
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   •                                       D i st r i c t 2 3 C ou nti es

For the most up-to-date and detailed information on each
district, please contact the local county board of elections.                                         Last Revised 02/2018
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                              Exhibit
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                              Exhibit
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                              Exhibit
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                              Exhibit
Case: 2:22-cv-00773-ALM-ART-BJB Doc #: 161-3 Filed: 04/06/22 Page: 39 of 180 PAGEID #:
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Case: 2:22-cv-00773-ALM-ART-BJB Doc #: 161-3 Filed: 04/06/22 Page: 40 of 180 PAGEID #:
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                              Exhibit
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     Born on August 18. 1971, St. Louis, MO.

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  Education
     Ph.D. Political Science, Yale University, 2000.

     Fulbright Scholar, University of Leipzig, Germany, 1993–1994.

     B.A., Political Science, University of Michigan, 1993.


  Academic Positions
     Professor, Department of Political Science, Stanford University, 2012–present.

     Senior Fellow, Stanford Institute for Economic Policy Research, 2020–present.

     Senior Fellow, Hoover Institution, Stanford University, 2012–present.
     Director, Spatial Social Science Lab, Stanford University, 2012–present.

     W. Glenn Campbell and Rita Ricardo-Campbell National Fellow, Hoover Institution, Stanford Univer-
     sity, 2010–2012.
     Associate Professor, Department of Political Science, Stanford University, 2007–2012.

     Fellow, Center for Advanced Study in the Behavioral Sciences, Palo Alto, CA, 2006–2007.
     Ford Career Development Associate Professor of Political Science, MIT, 2003–2006.

     Visiting Scholar, Center for Basic Research in the Social Sciences, Harvard University, 2004.

     Assistant Professor of Political Science, MIT, 1999–2003.

     Instructor, Department of Political Science and School of Management, Yale University, 1997–1999.




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  Publications
  Books
     Why Cities Lose: The Deep Roots of the Urban-Rural Divide. Basic Books, 2019.
     Decentralized Governance and Accountability: Academic Research and the Future of Donor Programming. Co-
     edited with Erik Wibbels, Cambridge University Press, 2019.
     Hamilton‘s Paradox: The Promise and Peril of Fiscal Federalism, Cambridge University Press, 2006. Winner,
     Gregory Luebbert Award for Best Book in Comparative Politics, 2007; Martha Derthick Award for
     lasting contribution to the study of federalism, 2021.
     Fiscal Decentralization and the Challenge of Hard Budget Constraints, MIT Press, 2003. Co-edited with
     Gunnar Eskeland and Jennie Litvack.

  Peer Reviewed Journal Articles
     Who Registers? Village Networks, Household Dynamics, and Voter Registration in Rural Uganda,
     2021, Comparative Political Studies forthcoming (with Romain Ferrali, Guy Grossman, and Melina Platas).
     Partisan Dislocation: A Precinct-Level Measure of Representation and Gerrymandering, 2021, Political
     Analysis forthcoming (with Daryl DeFord Nick Eubank).
     Who is my Neighbor? The Spatial Efficiency of Partisanship, 2020, Statistics and Public Policy 7(1):87-100
     (with Nick Eubank).
     Handgun Ownership and Suicide in California, 2020, New England Journal of Medicine 382:2220-2229
     (with David M. Studdert, Yifan Zhang, Sonja A. Swanson, Lea Prince, Erin E. Holsinger, Matthew J.
     Spittal, Garen J. Wintemute, and Matthew Miller).
     Viral Voting: Social Networks and Political Participation, 2020, Quarterly Journal of Political Science (with
     Nick Eubank, Guy Grossman, and Melina Platas).
     It Takes a Village: Peer Effects and Externalities in Technology Adoption, 2020, American Journal of
     Political Science (with Romain Ferrali, Guy Grossman, and Melina Platas). Winner, 2020 Best Conference
     Paper Award, American Political Science Association Network Section.
     Assembly of the LongSHOT Cohort: Public Record Linkage on a Grand Scale, 2019, Injury Prevention
     (with Yifan Zhang, Erin Holsinger, Lea Prince, Sonja Swanson, Matthew Miller, Garen Wintemute, and
     David Studdert).
     Crowdsourcing Accountability: ICT for Service Delivery, 2018, World Development 112: 74-87 (with Guy
     Grossman and Melina Platas).
     Geography, Uncertainty, and Polarization, 2018, Political Science Research and Methods doi:10.1017/
     psrm.2018.12 (with Nolan McCarty, Boris Shor, Chris Tausanovitch, and Chris Warshaw).
     Handgun Acquisitions in California after Two Mass Shootings, 2017, Annals of Internal Medicine 166(10):698-
     706. (with David Studdert, Yifan Zhang, Rob Hyndman, and Garen Wintemute).
     Cutting Through the Thicket: Redistricting Simulations and the Detection of Partisan Gerrymanders,
     2015, Election Law Journal 14,4:1-15 (with Jowei Chen).
     The Achilles Heel of Plurality Systems: Geography and Representation in Multi-Party Democracies,
     2015, American Journal of Political Science 59,4: 789-805 (with Ernesto Calvo). Winner, Michael Waller-
     stein Award for best paper in political economy, American Political Science Association.

                                                         2
Case: 2:22-cv-00773-ALM-ART-BJB Doc #: 161-3 Filed: 04/06/22 Page: 44 of 180 PAGEID #:
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     Why has U.S. Policy Uncertainty Risen Since 1960?, 2014, American Economic Review: Papers and Pro-
     ceedings May 2014 (with Nicholas Bloom, Brandice Canes-Wrone, Scott Baker, and Steven Davis).

     Unintentional Gerrymandering: Political Geography and Electoral Bias in Legislatures, 2013, Quarterly
     Journal of Political Science 8: 239-269 (with Jowei Chen).
     How Should We Measure District-Level Public Opinion on Individual Issues?, 2012, Journal of Politics
     74, 1: 203-219 (with Chris Warshaw).

     Representation and Redistribution in Federations, 2011, Proceedings of the National Academy of Sciences
     108, 21:8601-8604 (with Tiberiu Dragu).

     Dual Accountability and the Nationalization of Party Competition: Evidence from Four Federatons,
     2011, Party Politics 17, 5: 629-653 (with Erik Wibbels).

     The Geographic Distribution of Political Preferences, 2010, Annual Review of Political Science 13: 297–340.

     Fiscal Decentralization and the Business Cycle: An Empirical Study of Seven Federations, 2009, Eco-
     nomics and Politics 22,1: 37–67 (with Erik Wibbels).

     Getting into the Game: Legislative Bargaining, Distributive Politics, and EU Enlargement, 2009, Public
     Finance and Management 9, 4 (with Deniz Aksoy).

     The Strength of Issues: Using Multiple Measures to Gauge Preference Stability, Ideological Constraint,
     and Issue Voting, 2008. American Political Science Review 102, 2: 215–232 (with Stephen Ansolabehere
     and James Snyder).

     Does Religion Distract the Poor? Income and Issue Voting Around the World, 2008, Comparative Political
     Studies 41, 4: 437–476 (with Ana Lorena De La O).
     Purple America, 2006, Journal of Economic Perspectives 20,2 (Spring): 97–118 (with Stephen Ansolabehere
     and James Snyder).

     Economic Geography and Economic Voting: Evidence from the U.S. States, 2006, British Journal of
     Political Science 36, 3: 527–47 (with Michael Ebeid).

     Distributive Politics in a Federation: Electoral Strategies, Legislative Bargaining, and Government
     Coalitions, 2004, Dados 47, 3 (with Marta Arretche, in Portuguese).

     Comparative Federalism and Decentralization: On Meaning and Measurement, 2004, Comparative Poli-
     tics 36, 4: 481-500. (Portuguese version, 2005, in Revista de Sociologia e Politica 25).
     Reviving Leviathan: Fiscal Federalism and the Growth of Government, 2003, International Organization
     57 (Fall), 695–729.
     Beyond the Fiction of Federalism: Macroeconomic Management in Multi-tiered Systems, 2003, World
     Politics 54, 4 (July): 494–531 (with Erik Wibbels).

     The Dilemma of Fiscal Federalism: Grants and Fiscal Performance around the World, 2002, American
     Journal of Political Science 46(3): 670–687.

     Strength in Numbers: Representation and Redistribution in the European Union, 2002, European Union
     Politics 3, 2: 151–175.

     Does Federalism Preserve Markets? Virginia Law Review 83, 7 (with Susan Rose-Ackerman). Spanish
     version, 1999, in Quorum 68.



                                                        3
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  Working Papers
     Elections, Political Polarization, and Economic Uncertainty, NBER Working Paper 27961 (with Scott
     Baker, Aniket Baksy, Nicholas Bloom, and Steven Davis).

     Federalism and Inter-regional Redistribution, Working Paper 2009/3, Institut d’Economia de Barcelona.

     Representation and Regional Redistribution in Federations, Working Paper 2010/16, Institut d’Economia
     de Barcelona (with Tiberiu Dragu).

  Chapters in Books
     Political Geography and Representation: A Case Study of Districting in Pennsylvania (with Thomas
     Weighill), in Political Geometry, edited by Moon Duchin and Olivia Walch, forthcoming 2021, Springer.

     Keeping Your Enemies Close: Electoral Rules and Partisan Polarization, in The New Politics of Insecurity,
     edited by Frances Rosenbluth and Margaret Weir, forthcoming 2021, Cambridge University Press.
     Decentralized Rule and Revenue, 2019, in Jonathan Rodden and Erik Wibbels, eds., Decentralized Gov-
     ernance and Accountability, Cambridge University Press.

     Geography and Gridlock in the United States, 2014, in Nathaniel Persily, ed. Solutions to Political
     Polarization in America, Cambridge University Press.

     Can Market Discipline Survive in the U.S. Federation?, 2013, in Daniel Nadler and Paul Peterson, eds,
     The Global Debt Crisis: Haunting U.S. and European Federalism, Brookings Press.

     Market Discipline and U.S. Federalism, 2012, in Peter Conti-Brown and David A. Skeel, Jr., eds, When
     States Go Broke: The Origins, Context, and Solutions for the American States in Fiscal Crisis, Cambridge
     University Press.

     Federalism and Inter-Regional Redistribution, 2010, in Nuria Bosch, Marta Espasa, and Albert Sole
     Olle, eds., The Political Economy of Inter-Regional Fiscal Flows, Edward Elgar.
     Back to the Future: Endogenous Institutions and Comparative Politics, 2009, in Mark Lichbach and
     Alan Zuckerman, eds., Comparative Politics: Rationality, Culture, and Structure (Second Edition), Cam-
     bridge University Press.

     The Political Economy of Federalism, 2006, in Barry Weingast and Donald Wittman, eds., Oxford Hand-
     book of Political Economy, Oxford University Press.

     Fiscal Discipline in Federations: Germany and the EMU, 2006, in Peter Wierts, Servaas Deroose, Elena
     Flores and Alessandro Turrini, eds., Fiscal Policy Surveillance in Europe, Palgrave MacMillan.

     The Political Economy of Pro-cyclical Decentralised Finance (with Erik Wibbels), 2006, in Peter Wierts,
     Servaas Deroose, Elena Flores and Alessandro Turrini, eds., Fiscal Policy Surveillance in Europe, Palgrave
     MacMillan.

     Globalization and Fiscal Decentralization, (with Geoffrey Garrett), 2003, in Miles Kahler and David
     Lake, eds., Governance in a Global Economy: Political Authority in Transition, Princeton University Press:
     87-109. (Updated version, 2007, in David Cameron, Gustav Ranis, and Annalisa Zinn, eds., Globalization
     and Self-Determination: Is the Nation-State under Siege? Routledge.)

     Introduction and Overview (Chapter 1), 2003, in Rodden et al., Fiscal Decentralization and the Challenge
     of Hard Budget Constraints (see above).



                                                       4
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     Soft Budget Constraints and German Federalism (Chapter 5), 2003, in Rodden, et al, Fiscal Decentral-
     ization and the Challenge of Hard Budget Constraints (see above).
     Federalism and Bailouts in Brazil (Chapter 7), 2003, in Rodden, et al., Fiscal Decentralization and the
     Challenge of Hard Budget Constraints (see above).
     Lessons and Conclusions (Chapter 13), 2003, in Rodden, et al., Fiscal Decentralization and the Challenge
     of Hard Budget Constraints (see above).

  Online Interactive Visualization
     Stanford Election Atlas, 2012 (collaboration with Stephen Ansolabehere at Harvard and Jim Herries at
     ESRI)

  Other Publications
     Supporting Advanced Manufacturing in Alabama, Report to the Alabama Innovation Commission,
     Hoover Institution, 2021.
     How America’s Urban-Rural Divide has Shaped the Pandemic, 2020, Foreign Affairs, April 20, 2020.
     An Evolutionary Path for the European Monetary Fund? A Comparative Perspective, 2017, Briefing
     paper for the Economic and Financial Affairs Committee of the European Parliament.
     Representation and Regional Redistribution in Federations: A Research Report, 2009, in World Report
     on Fiscal Federalism, Institut d’Economia de Barcelona.
     On the Migration of Fiscal Sovereignty, 2004, PS: Political Science and Politics July, 2004: 427–431.
     Decentralization and the Challenge of Hard Budget Constraints, PREM Note 41, Poverty Reduction and
     Economic Management Unit, World Bank, Washington, D.C. (July).
     Decentralization and Hard Budget Constraints, APSA-CP (Newsletter of the Organized Section in
     Comparative Politics, American Political Science Association) 11:1 (with Jennie Litvack).
     Book Review of The Government of Money by Peter Johnson, Comparative Political Studies 32,7: 897-900.


  Fellowships, Honors, and Grants
     John Simon Guggenheim Memorial Foundation Fellowship, 2021.
     Martha Derthick Award of the American Political Science Association for “the best book published at
     least ten years ago that has made a lasting contribution to the study of federalism and intergovern-
     mental relations,” 2021.
     National Institutes of Health, funding for “Relationship between lawful handgun ownership and risk
     of homicide victimization in the home,” 2021.
     National Collaborative on Gun Violence Research, funding for “Cohort Study Of Firearm-Related Mor-
     tality Among Cohabitants Of Handgun Owners.” 2020.
     Fund for a Safer Future, Longitudinal Study of Handgun Ownership and Transfer (LongSHOT),
     GA004696, 2017-2018.
     Stanford Institute for Innovation in Developing Economies, Innovation and Entrepreneurship research
     grant, 2015.

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     Michael Wallerstein Award for best paper in political economy, American Political Science Association,
     2016.
     Common Cause Gerrymandering Standard Writing Competition, 2015.
     General support grant from the Hewlett Foundation for Spatial Social Science Lab, 2014.
     Fellow, Institute for Research in the Social Sciences, Stanford University, 2012.
     Sloan Foundation, grant for assembly of geo-referenced precinct-level electoral data set (with Stephen
     Ansolabehere and James Snyder), 2009-2011.
     Hoagland Award Fund for Innovations in Undergraduate Teaching, Stanford University, 2009.
     W. Glenn Campbell and Rita Ricardo-Campbell National Fellow, Hoover Institution, Stanford Univer-
     sity, beginning Fall 2010.
     Research Grant on Fiscal Federalism, Institut d‘Economia de Barcelona, 2009.
     Fellow, Institute for Research in the Social Sciences, Stanford University, 2008.
     United Postal Service Foundation grant for study of the spatial distribution of income in cities, 2008.
     Gregory Luebbert Award for Best Book in Comparative Politics, 2007.
     Fellow, Center for Advanced Study in the Behavioral Sciences, 2006-2007.
     National Science Foundation grant for assembly of cross-national provincial-level dataset on elections,
     public finance, and government composition, 2003-2004 (with Erik Wibbels).
     MIT Dean‘s Fund and School of Humanities, Arts, and Social Sciences Research Funds.
     Funding from DAAD (German Academic Exchange Service), MIT, and Harvard EU Center to organize
     the conference, ”European Fiscal Federalism in Comparative Perspective,” held at Harvard University,
     November 4, 2000.
     Canadian Studies Fellowship (Canadian Federal Government), 1996-1997.
     Prize Teaching Fellowship, Yale University, 1998-1999.
     Fulbright Grant, University of Leipzig, Germany, 1993-1994.
     Michigan Association of Governing Boards Award, one of two top graduating students at the Univer-
     sity of Michigan, 1993.
     W. J. Bryan Prize, top graduating senior in political science department at the University of Michigan,
     1993.


  Other Professional Activities
     Selection committee, best paper award, American Journal of Political Science.
     International Advisory Committee, Center for Metropolitan Studies, Sao Paulo, Brazil, 2006–2010.
     Selection committee, Mancur Olson Prize awarded by the American Political Science Association Po-
     litical Economy Section for the best dissertation in the field of political economy.
     Selection committee, Gregory Luebbert Best Book Award.
     Selection committee, William Anderson Prize, awarded by the American Political Science Association
     for the best dissertation in the field of federalism and intergovernmental relations.

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  Courses
  Undergraduate
     Politics, Economics, and Democracy
     Introduction to Comparative Politics
     Introduction to Political Science
     Political Science Scope and Methods
     Institutional Economics
     Spatial Approaches to Social Science

  Graduate
     Political Economy
     Political Economy of Institutions
     Federalism and Fiscal Decentralization
     Politics and Geography


  Consulting
     2017. Economic and Financial Affairs Committee of the European Parliament.
     2016. Briefing paper for the World Bank on fiscal federalism in Brazil.
     2013-2018: Principal Investigator, SMS for Better Governance (a collaborative project involving USAID,
     Social Impact, and UNICEF in Arua, Uganda).
     2019: Written expert testimony in McLemore, Holmes, Robinson, and Woullard v. Hosemann, United States
     District Court, Mississippi.
     2019: Expert witness in Nancy Corola Jacobson v. Detzner, United States District Court, Florida.
     2018: Written expert testimony in League of Women Voters of Florida v. Detzner No. 4:18-cv-002510,
     United States District Court, Florida.
     2018: Written expert testimony in College Democrats of the University of Michigan, et al. v. Johnson, et al.,
     United States District Court for the Eastern District of Michigan.
     2017: Expert witness in Bethune-Hill v. Virginia Board of Elections, No. 3:14-CV-00852, United States
     District Court for the Eastern District of Virginia.
     2017: Expert witness in Arizona Democratic Party, et al. v. Reagan, et al., No. 2:16-CV-01065, United
     States District Court for Arizona.
     2016: Expert witness in Lee v. Virginia Board of Elections, 3:15-cv-357, United States District Court for
     the Eastern District of Virginia, Richmond Division.
     2016: Expert witness in Missouri NAACP v. Ferguson-Florissant School District, United States District
     Court for the Eastern District of Missouri, Eastern Division.


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     2014-2015: Written expert testimony in League of Women Voters of Florida et al. v. Detzner, et al., 2012-CA-
     002842 in Florida Circuit Court, Leon County (Florida Senate redistricting case).

     2013-2014: Expert witness in Romo v Detzner, 2012-CA-000412 in Florida Curcuit Court, Leon County
     (Florida Congressional redistricting case).
     2011-2014: Consultation with investment groups and hedge funds on European debt crisis.

     2011-2014: Lead Outcome Expert, Democracy and Governance, USAID and Social Impact.

     2010: USAID, Review of USAID analysis of decentralization in Africa.

     2006–2009: World Bank, Independent Evaluations Group. Undertook evaluations of World Bank de-
     centralization and safety net programs.

     2008–2011: International Monetary Fund Institute. Designed and taught course on fiscal federalism.

     1998–2003: World Bank, Poverty Reduction and Economic Management Unit. Consultant for World De-
     velopment Report, lecturer for training courses, participant in working group for assembly of decentral-
     ization data, director of multi-country study of fiscal discipline in decentralized countries, collaborator
     on review of subnational adjustment lending.



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Supreme Court of Ohio Clerk of Court - Filed October


                               IN THE SUPREME COURT OF OHIO

       BRIA BENNETT, et al.,

                           Relators,                 Case No. 2021-1198
                    v.

       OHIO REDISTRICTING
       COMMISSION, et al.,

                           Respondents.



                               EVIDENCE OF BENNETT RELATORS

                         (Expert Affidavit of Dr. Jonathan Rodden & Exhibits)


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        Ben Stafford (PHV 25433-2021)                   OHIO ATTORNEY GENERAL
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        Spencer W. Klein (PHV 25432-2021)               Governor Mike DeWine,
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                                 IN THE SUPREME COURT OF OHIO

   Bria Bennett, et al.,
                                                         Case No. 2021-1198
                   Relators,
                                                         Original Action Filed Pursuant to Ohio
   v.                                                    Constitution, Article XI, Section 9(A)

   Ohio Redistricting Commission, et al.,                [Apportionment Case Pursuant to S. Ct.
                                                         Prac. R. 14.03]
                   Respondents.



                     EXPERT AFFIDAVIT OF DR. JONATHAN RODDEN


          I, Jonathan Rodden, having been duly sworn and cautioned according to law, hereby state
  that I am over the age of eighteen years and am competent to testify to the facts set forth below
  based on my personal knowledge and having personally examined all records referenced in this
  affidavit, and further state as follows:

                            I.      INTRODUCTION AND SUMMARY

  1.    For the purpose of this report, I have been asked to examine whether and how the redistricting
        plan for the Ohio State House of Representatives and Ohio Senate, adopted by the Ohio
        Redistricting Commission on September 16, 2021, and attached as Exhibit A (“2021
        Commission Plan”), addresses the standard set forth in Article XI, Section 6(B), namely, that
        “[t]he statewide proportion of districts whose voters, based on statewide state and federal
        partisan general election results during the last ten years, favor each political party shall
        correspond closely to the statewide preferences of the voters of Ohio.”

  2.    I demonstrate that this “partisan proportionality” standard was clearly not met by the map
        adopted by the Ohio Redistricting Commission.

  3.    Furthermore, I have been asked to examine whether the partisan composition of the
        Commission’s maps may have been a result of the Commission’s need to satisfy other
        requirements of the Ohio Constitution: specifically, the requirements to avoid county and
        municipal splits, laid out in Article XI, Sections 3 and 4, and to attempt to draw compact
        districts, as set forth in Article XI, Section 6(C).

  4.    In order to answer this question, I do two things. First, I examine several additional maps
        that were available to the Commission, and to the public, prior to September 15. Second, I
        create my own alternative redistricting maps for the Ohio House and Senate, abiding by the
        rules set forth in the Ohio Constitution. I demonstrate that my alternative redistricting maps,
        like each of the alternative plans available to the Commission, were able to abide by the
        “partisan proportionality” requirement more closely while also abiding by the strict rules of


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       the Ohio Constitution regarding county and municipality splits, and while creating districts
       with similar or better compactness scores than those drawn by the Commission.

  5.   I was also asked to conduct a careful examination of the key geographic regions where the
       likely partisan outcomes associated with the 2021 Commission Plan were notably different
       from those of the alternative maps. In most instances, the alternative plans are more
       respectful of traditional redistricting criteria than the 2021 Commission Plan. Moreover, in
       some metro areas, the Commission’s plan clearly achieves a lower anticipated Democratic
       seat share than the alternative plans by breaking up urban and suburban Democratic
       communities, including Black communities, and embedding them in districts where exurban
       and rural whites make up majorities. Moreover, some of the Commission’s specific splits of
       urban counties are especially well-crafted to reduce the overall Democratic seat share in a
       region. And relative to the alternative plans, the Commission’s plan often packs Democratic
       voters into overwhelmingly Democratic urban districts, which allows the Commission to
       carve out additional suburban and exurban districts with comfortable Republican majorities.

                                   II.     QUALIFICATIONS

  6.   I am currently a tenured Professor of Political Science at Stanford University and the founder
       and director of the Stanford Spatial Social Science Lab—a center for research and teaching
       with a focus on the analysis of geo-spatial data in the social sciences. I am engaged in a
       variety of research projects involving large, fine-grained geo-spatial data sets including
       ballots and election results at the level of polling places, individual records of registered
       voters, census data, and survey responses. I am also a senior fellow at the Stanford Institute
       for Economic Policy Research and the Hoover Institution. Prior to my employment at
       Stanford, I was the Ford Professor of Political Science at the Massachusetts Institute of
       Technology. I received my Ph.D. from Yale University and my B.A. from the University of
       Michigan, Ann Arbor, both in political science. A copy of my current C.V. is included as
       Exhibit G.

  7.   In my current academic work, I conduct research on the relationship between the patterns of
       political representation, geographic location of demographic and partisan groups, and the
       drawing of electoral districts. I have published papers using statistical methods to assess
       political geography, balloting, and representation in a variety of academic journals including
       Statistics and Public Policy, Proceedings of the National Academy of Science, American
       Economic Review Papers and Proceedings, the Journal of Economic Perspectives, the
       Virginia Law Review, the American Journal of Political Science, the British Journal of
       Political Science, the Annual Review of Political Science, and the Journal of Politics. One of
       these papers was selected by the American Political Science Association as the winner of the
       Michael Wallerstein Award for the best paper on political economy published in the last year,
       and another received an award from the American Political Science Association section on
       social networks. In 2021, I received a John Simon Guggenheim Memorial Foundation
       Fellowship, and received the Martha Derthick Award of the American Political Science
       Association for “the best book published at least ten years ago that has made a lasting
       contribution to the study of federalism and intergovernmental relations.”




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  8.      I have recently written a series of papers, along with my co-authors, using automated
          redistricting algorithms to assess partisan gerrymandering. This work has been published in
          the Quarterly Journal of Political Science, Election Law Journal, and Political Analysis, and
          it has been featured in more popular publications like the Wall Street Journal, the New York
          Times, and Boston Review. I have recently completed a book, published by Basic Books in
          June of 2019, on the relationship between political districts, the residential geography of
          social groups, and their political representation in the United States and other countries that
          use winner-take-all electoral districts. The book was reviewed in The New York Times, The
          New York Review of Books, Wall Street Journal, The Economist, and The Atlantic, among
          others.

  9.      I have expertise in the use of large data sets and geographic information systems (GIS), and
          I conduct research and teaching in the area of applied statistics related to elections. My PhD
          students frequently take academic and private sector jobs as statisticians and data scientists.
          I frequently work with geo-coded voter files and other large administrative data sets,
          including in recent papers published in the Annals of Internal Medicine and The New England
          Journal of Medicine. I have developed a national data set of geo-coded precinct-level election
          results that has been used extensively in policy-oriented research related to redistricting and
          representation.

  10.     I have been accepted and testified as an expert witness in several election law and
          redistricting cases: Romo v. Detzner, No. 2012-CA-000412 (Fla. Cir. Ct. 2012); Mo. State
          Conference of the NAACP v. Ferguson-Florissant Sch. Dist., No. 4:2014-CV-02077 (E.D.
          Mo. 2014); Lee v. Va. State Bd. of Elections, No. 3:15-CV-00357 (E.D. Va. 2015);
          Democratic Nat’l Committee et al. v. Hobbs et al., No. 16-1065-PHX-DLR (D. Ariz. 2016);
          Bethune-Hill v. Virginia State Board of Elections, No. 3:14-cv-00852-REP-AWA-BMK
          (E.D. Va. 2014); and Jacobson et al. v. Lee, No. 4:18-cv-00262 (N.D. Fla. 2018). I also
          worked with a coalition of academics to file Amicus Briefs in the Supreme Court in Gill v.
          Whitford, No. 16-1161, and Rucho v. Common Cause, No. 18-422. Much of the testimony in
          these cases had to do with geography, electoral districts, voting, ballots, and election
          administration. I recently worked as a consultant for the Maryland Redistricting
          Commission. I am being compensated at the rate of $550/hour for my work in this case. My
          compensation is not dependent upon my conclusions in any way.

                                        III.    DATA SOURCES

  11.     I have collected statewide election data for 2012 to 2020 from the Ohio Secretary of State. I
          also accessed precinct-level election results from the Ohio Secretary of State for statewide
          elections from 2016 to 2020 that were matched to 2020 Ohio vote tabulation districts by a
          team at Harvard University called the Algorithm-Assisted Redistricting Methodology
          Project. 1 Additionally, I accessed the proposed and adopted Ohio redistricting plans
          uploaded to the web page of the Ohio Redistricting Commission, true copies of which are
          attached as Exhibits A, C, D, and E. 2 For the analysis conducted in this report, I use three
          software packages: Stata, Maptitude for Redistricting, and ArcGIS Pro. In creating my maps,

  1
      https://alarm-redist.github.io/posts/2021-08-10-census-2020/
  2
      https://redistricting.ohio.gov/maps


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          I used the same U.S. Census redistricting data used by the Ohio Redistricting Commission,
          as archived in the “Ohio University Common and Unified Redistricting Database.” 3

                      IV.     MEASURING PARTISAN PROPORTIONALITY

  12.     The Ohio Constitution instructs the Commission to use “statewide state and federal partisan
          general election results during the last ten years” to ascertain the “statewide preferences of
          the voters of Ohio” and attempt to draw a map in which the “statewide proportion of districts
          whose voters favor each party shall correspond closely” to those “statewide preferences.”

  13.     As further discussed below, the only reasonable way to implement this notion of “statewide
          preferences,” as ascertained from past elections to anticipated future seat shares, is via the
          proportion of votes received by the candidates for the two parties. That is to say, if a party
          won 50 percent of the average statewide vote in the relevant elections, a proposed map should
          favor that party—aggregating the results of those same elections—in somewhere very close
          to 50 percent of the seats.

  14.     The first task, then, is to establish this target from the last decade of statewide partisan
          election results. Figure 1 provides a visualization of Ohio statewide general election results
          from 2012 to 2020. Ohio is a hotly contested state with a tradition of split-ticket voting and
          significant swings from one year to another. The Democratic candidate won the presidential
          contest in 2012, but the Republican candidate won in 2016 and 2020. Ohio’s U.S. Senate
          delegation is typically split between the parties, and other statewide elections are often very
          competitive, although 2014 was an exception, as was the 2016 U.S. Senate race.

  15.     Figure 1 reveals that while Ohio statewide elections have been mostly quite close over the
          last decade, Republican candidates have held a narrow advantage. To quantify this, Table 1
          provides the raw data. Including all of the statewide general elections from 2012 to 2020, the
          Democratic share of the two-party vote (ignoring small parties and write-in candidates) was
          around 46 percent.




  3
      https://www.redistricting.ohio.gov/resources


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                      Figure 1: Statewide General Election Outcomes, Ohio, 2012-2020




                      Table 1: Statewide General Election Outcomes, Ohio, 2012-2020


                                                                            Two-party
                             Democratic      Republican
                                                              Other         Democratic
                               Votes           Votes
                                                                            Vote Share

       2012 President          2,827,709       2,661,439        91,791             51.5%

       2012 U.S. Senate        2,762,766       2,435,744       250,618             53.1%

       2014 Governor           1,009,359       1,944,848       101,706             34.2%

       2014 Att. Gen.          1,178,426       1,882,048                           38.5%

       2014 Auditor            1,149,305       1,711,927       143,363             40.2%

       2014 Sec. of State      1,074,475       1,811,020       141,292             37.2%

       2014 Treasurer          1,323,325       1,724,060                           43.4%




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        2016 President          2,394,164         2,841,005          261,318                 45.7%

        2016 Senate             1,996,908         3,118,567          258,689                 39.0%

        2018 Senate             2,358,508         2,057,559             1,017                53.4%

        2018 Governor           2,070,046         2,235,825          129,949                 48.1%

        2018 Att. Gen.          2,086,715         2,276,414                                  47.8%

        2018 Auditor            2,008,295         2,156,663          175,962                 48.2%

        2018 Sec. of State      2,052,098         2,214,273          103,585                 48.1%

        2018 Treasurer          2,024,194         2,308,425                                  46.7%

        2020 President          2,679,165         3,154,834           88,203                 45.9%


        Sum, all elections     30,995,458        36,534,651        1,747,493                45.9%


        Sum, 2016-2020         19,670,093        22,363,565        1,018,723                46.8%




  16.   Determining the proportion of districts that favor each party, based on consideration of the
        relevant elections identified in Article XI, Section 6, requires an aggregation of the precinct-
        level results of these past elections to the boundaries of a map’s proposed districts. However,
        precinct-level election results linked with geo-spatial boundaries were not available for the
        2012 and 2014 elections, as the Commission itself acknowledged in its Article XI, Section
        8(C)(2) Statement, attached as Exhibit F. Thus, Table 1 also sets forth that the two-party
        Democratic vote share in the 2016, 2018, and 2020 general elections was around 47 percent.

  17.   Accordingly, using the full statewide election results from 2012 to 2020, the statewide
        preferences of Ohio voters must be translated into state legislative maps in which 45.9
        percent of seats favor Democrats and 54.1 percent of seats favor Republicans. Since there
        are 99 seats in the Ohio House of Representatives, a statewide vote share of 45.9 percent
        would be associated with 45.44 Democratic seats, which rounds down to 45 seats. Similarly,
        a 45.9 percent vote share would be associated with about 15.15 Democratic seats in the 33-
        member Ohio Senate, which rounds down to 15 seats.

  18.   I have aggregated the precinct-level results of each election from 2016 to 2020 included in
        Table 1 to the level of the districts in the 2021 Commission Plan. For each district, I calculate
        the average Democratic share of the votes received by the candidates of the two major parties
        across each of these elections. I then ascertain the number of districts in which this quantity
        is greater than 50 percent. Using this technique, I determine that the 2021 Commission Plan


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        produced 37 majority-Democratic House seats and 62 majority-Republican House seats, as
        shown in Table 2 below. In the Senate, the 2021 Commission Plan produced 10 majority-
        Democratic Senate seats and 23 majority-Republican seats. This is a gap of 8 House seats
        and 5 Senate seats between the Democratic-leaning seats produced by the 2021 Commission
        Plan and the seat share that would be proportionate to the statewide Democratic vote share.

  19.   Notably, the partisanship of the Commission’s maps is not very different from that of the
        current maps, adopted in 2011 and attached as Exhibit B. The current breakdown of the
        General Assembly under the 2011 maps is as follows: 35 Democrats and 64 Republicans in
        the House; 8 Democrats and 25 Republicans in the Senate.

  20.   In addition to this examination of seats above and below the 50 percent cut-point, it is also
        useful to examine how many of the Democratic- and Republican-leaning seats are razor-thin
        majorities, and how many are more comfortable majorities. I count the number of seats where
        the average Democratic share of the vote for the two major parties was less than 48 percent—
        let us call these expected Republican seats. And I count the number of seats where the
        average Democratic share of the vote for the two major parties was greater than 52 percent—
        let us call these expected Democratic seats. Finally, I count the number of seats that we might
        call “toss-ups,” where the average Democratic vote share was between 48 percent and 52
        percent.

  21.   As set forth in Table 2 below, in the 2021 Commission Plan, all of the majority-Republican
        House seats are greater than 52 percent Republican. Of the 37 majority-Democratic seats,
        only 32 are greater than 52 percent Democratic. All 5 of the toss-up seats are slim Democratic
        majorities. As set forth in Table 3, in the Commission’s Senate plan, there are 21 expected
        Republican seats, 9 expected Democratic seats, and 3 toss-ups, of which 1 is a slim
        Democratic majority and 2 are slim Republican majorities. As explained further below, by
        generating a large number of seats with comfortable Republican majorities, the Commission
        has generated plans that would provide the Republican Party with a majority of seats even in
        the event of a comfortable Democratic statewide victory.

  22.   In its Article XI, Section 8(C)(2) Statement, the Commission explained its ostensible attempt
        to comply with the “partisan proportionality” requirement in the Ohio Constitution. In this
        statement, the Ohio Redistricting Commission offers an unsound implementation of the
        constitutional requirement, suggesting that in addition to the vote share, an equally
        reasonable way to measure “statewide preferences” is by calculating the share of all elections
        in the last decade in which each party received more votes than the other party. This is a
        flawed way of characterizing voter preferences in general, but especially when the purpose
        is to evaluate seat shares. With this interpretation, a party that always wins 50.01 percent of
        the vote in general elections would be viewed as having 100 percent of the “statewide
        preference,” entitling it to draw a map that gave itself all the seats, a patently absurd outcome.

  23.   Consider, for example, a situation in which the United States adopted Ohio’s constitutional
        amendment for U.S. House of Representatives districts. The only nationwide elections are
        presidential elections, for which Democratic candidates have won a majority of the popular
        vote in each election since 2004, although many of these elections were extremely close. By
        the Commission’s logic, voters preferred Democratic candidates 100 percent of the time, and


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        would therefore be entitled to 100 percent of the seats in Congress. Similarly, the
        Commission’s measurement would suggest that Minnesota voters prefer 100 percent of their
        elected officials to be Democrats, simply because Democrats have won 100 percent of the
        statewide partisan races in the past decade—even though those elections were relatively
        close, and control of the state legislature in Minnesota has been closely divided throughout
        that period. The same would be true in California, even though more than 6 million people
        in that state voted for former President Donald Trump in the 2020 presidential election. This
        is simply not a tenable methodology for determining voter preferences.

  24.   In the vast academic literature on voter preferences and seats, I have never encountered the
        notion that the seat share should correspond to the share of past elections in which a party
        “won,” or received a plurality of votes. Perhaps the foundational work in this literature is a
        paper published in 1950 by Kendall and Stuart, 4 exploring the vote share in each election as
        a measure of voter preferences and examining the transformation of those votes to seats in
        the British Parliament. Then, Gudgin and Taylor published a book in 1979 that explored the
        geography of voter preferences, as ultimately expressed through vote shares in specific
        elections, and the transformation of those votes to seats. 5 Next, a variety of books and articles
        by Ronald Johnston and collaborators, and more recently, Gary King and collaborators,
        further developed these insights about preferences, votes, and seats. 6 A recent analytical
        review of the resulting literature is provided in a 2020 article by Katz, King, and Rosenblatt. 7

  25.   In this entire literature, the basic starting point is to conceptualize vote shares in specific
        elections as indicators of voter preferences. These works explore how the geography of
        preferences, combined with the specific electoral districting plan, combine to translate votes
        into seats in the legislature. All of this literature shares a basic normative notion that 50
        percent of the votes should translate into 50 percent of the seats, and that in a two-party
        system, there should be symmetry in the way a redistricting plan treats the two parties.

  26.   Partisan symmetry means that if the two parties’ vote shares were reversed, their seat shares
        would be similarly reversed. For instance, imagine a redistricting plan in which Party A, if it
        received 52 percent of the votes, could anticipate 55 percent of the seats, due the fact that it
        was victorious in several of the most competitive seats. Partisan symmetry means that an
        electoral wave in favor of Party B, such that Party B now received 52 percent of the votes,
        would also provide Party B with a similar 55 percent seat share. However, if Party A can
        manipulate the redistricting process to produce partisan asymmetry, it might produce an
        unusually large number of seats with comfortable, but not overwhelming, majorities for Party

  4
    M. Kendall and A. Stuart, 1950, “The Law of Cubic Proportion in Election Results,” British
  Journal of Sociology 1,3:183,96.
  5
    Gudgin G, PJ Taylor PJ. 1979, Seats, Votes, and the Spatial Organisation of Elections. London:
  Pion.
  6
    See PJ Taylor Ronald Johnston, 1979, Geography of Elections. London: Croom Helm; and
  Robert Browning and Gary King, 1987, “Seats, Votes, and Gerrymandering: Estimating
  Representation and Bias in State Legislative Redistricting.” Law and Policy 9,3:305-322.
  7
    J. Katz, G. King, and E. Rosenblatt, 2020, “Theoretical Foundations and Empirical Evaluations
  of Partisan Fairness in District-Based Democracies,” American Political Science Review 114,1:
  164-178.


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        A, thus building a levy to withstand a wave in favor of Party B. In the asymmetric scenario,
        then, 52 percent of the vote for Party B would be insufficient to provide it with a legislative
        majority.

  27.   This literature on partisan proportionality and, relatedly, partisan symmetry, does sometimes
        examine multiple elections in order to examine the impact of different vote shares and
        different geographies of support over time on the transformation of votes to seats, but the
        starting point remains that vote share is the means to determine partisan preference. At no
        point in this literature do scholars conceptualize the notion of partisan proportionality or
        symmetry as pertaining to the relationship between the seat share and the number of overall
        pluralities achieved over a period of time.

  28.   In short, the notion of proportionality employed by academics is no different from that
        employed by pundits, politicians, and the mass public: it pertains to the relationship between
        the vote share and the seat share. Surely this is also the notion invoked by the Ohio
        Constitution.

  29.   Thus, the Commission was tasked with attempting to draw a map in which around 54 percent
        of the seats are anticipated to produce Republican majorities. Instead, they have drawn a
        House map where Republicans can expect comfortable majorities in 63 percent of the seats.
        And they have drawn a Senate map in which Republicans can expect majorities in a stunning
        70 percent of seats.

  30.   Neither the academic literature nor common usage in political discourse could suggest that
        this result “closely corresponds” to the “statewide preferences” of voters. In fact, the lack of
        correspondence between votes and seats is even more profound than suggested by the simple
        statewide averages discussed thus far. As mentioned above, an important focus of the
        academic literature on votes and seats is the notion of “symmetry.” In a two-party system,
        what would happen to the seat shares if the vote shares of the two parties reversed?

  31.   Fortunately, recent Ohio electoral history gives us an opportunity to examine just that
        scenario. In 2018, the Republican candidate for Treasurer, Robert Sprague, won 53.3 percent
        of the two-party vote. If we aggregate the precinct-level votes in the 2018 Treasurer election
        to match the 2021 Commission’s Ohio House of Representatives districts, Mr. Sprague
        would win majorities in 64 percent of the districts. That is to say, based on the 2018 votes
        for Treasurer, the Republican seat share is more than 10 percentage points higher than the
        Republican vote share.

  32.   On the same day, November 6, 2018, on the same ballot, the Democratic candidate for U.S.
        Senate, Sherrod Brown, received slightly more votes than Mr. Sprague, ending up with 53.4
        percent of the two-party vote. Yet if we aggregate these U.S. Senate votes up to match the
        2021 Commission’s House districts, Senator Brown would receive majorities in only 49.5
        percent of the seats. With relatively similar statewide victories of just over 53 percent, these
        two candidates’ vote shares translate to dramatically different outcomes in terms of seats in
        the 2021 Commission House map. The Republican candidate’s 53.3 percent win translates
        to a supermajority of seats, while the Democratic candidate’s slightly higher 53.4 percent
        win translates to a minority of seats.


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  33.   This example reveals the troubling extent to which the 2021 Commission Plan falls short of
        any notion of correspondence between voters’ preferences and legislative seats. Because so
        many of the Republican majorities in districts drawn by the Commission are comfortable,
        even if the Democrats win a comfortable majority of votes—on the order of 53.4 percent—
        they still cannot expect to serve in the legislative majority.

        V.    COMPARING THE COMMISSION’S MAPS TO ALTERNATIVE MAPS

  34.   It is clearly the case that the 2021 Commission did not adopt maps in which the party seat
        share closely corresponds with the vote share in relevant statewide elections under any
        reasonable interpretation of the Ohio Constitution’s partisan fairness requirement. But one
        might imagine that the partisan composition of the Commission’s maps was a function of
        constraints imposed by other constitutional requirements related to traditional redistricting
        principles that the Commission understood to be more important. Perhaps the Commission
        attempted to abide by Article XI, Section 6(B), but the job was simply too difficult.

  35.   In fact, the next line after the “partisan proportionality” clause dictates that the Commission
        “shall attempt” to draw compact districts. One might wonder whether the Commission found
        it difficult to achieve partisan proportionality because of a tension between that goal and the
        additional goal of drawing compact districts. Moreover, the Constitution requires that the
        Commission use entire counties, municipal corporations, and townships as the building
        blocks of districts to the extent possible. Counties with population greater than that which is
        sufficient for a single district must spill over into only a single additional district. The
        Commission must also endeavor not to split counties more than once, and not to split more
        than one municipality per district. Conceivably, efforts to abide by requirements like these
        could make it difficult for a map-drawer to achieve partisan proportionality despite a
        concerted effort to do so.

  36.   A simple and effective way to examine such assumptions is to analyze other maps that were
        made available to the Commission before it finalized its own maps. Did those maps come
        closer to achieving partisan proportionality while abiding by the same rules and achieving
        similar benchmarks with respect to the traditional redistricting principles emphasized in the
        Constitution? If so, one cannot accept the claim that the Commission was forced by
        restrictive rules into drawing maps with a large advantage for one party.

  37.   Specifically, I examined a map introduced by Senator Sykes on September 2, attached as
        Exhibit C, and another map introduced by Senator Sykes on September 15, attached as
        Exhibit H. An additional map was proposed by a group called the “Ohio Citizens
        Redistricting Commission” and is attached as Exhibit E. Based on my review and to the best
        of my knowledge, with the possible exception of the Sykes September 2 map, discussed
        further below, these maps are materially compliant with the line-drawing rules explained
        above, as set forth in Article XI, Sections 3 and 4 of the Ohio Constitution.

  38.   In addition to examining maps produced by others, I have produced my own redistricting
        plan for the Ohio House and Senate. By drawing my own maps, I was able to gain a full
        appreciation for the challenges and trade-offs associated with the Ohio Constitution’s




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        redistricting rules, and can explain how I resolved them, and with what implications for
        partisanship and respect for traditional redistricting criteria.

  39.   My approach was to begin by creating a complete plan for the House of Representatives and
        then assemble groups of three House districts in order to produce a Senate plan. However,
        this approach ran into a roadblock since most reasonable configurations of House districts
        cannot produce a valid Senate plan. Article XI, Section 4(B)(2) of the Ohio Constitution
        states that “Counties having less than one senate ratio of representation, but at least one house
        of representatives ratio of representation, shall be part of only one senate district.” In
        Northeast Ohio, it is extremely difficult to comply with Section 4(B)(2) in conjunction with
        the immediately preceding 4(B)(1), which states that “a county having at least one whole
        senate ratio of representation shall have as many senate districts wholly within the boundaries
        of the county as it has whole senate ratios of representation. Any fraction of the population
        in excess of a whole ratio shall be a part of only one adjoining senate district.”

  40.   This is complex in Northeast Ohio because both Cuyahoga and Summit Counties have well
        beyond the population of a single extra house district that must find a home in an adjoining
        district, and many surrounding House districts are unavailable as partners because of the
        prohibition on splits of medium-sized counties and the position of all relevant counties in the
        corner of the state. A rather unsatisfactory way to solve this problem is to severely under-
        represent the people of Northeast Ohio, over-populating virtually every district in this part
        of the state as close as possible to the 5 percent constraint, and under-populating many
        districts throughout the rest of the state. I came to the conclusion that this is the only way to
        configure districts in the House of Representatives in a way that allows for Senate districts
        that strictly comply with Article XI, Section 4 in Northeast Ohio. I thus configured House
        districts in Northeast Ohio with a sole focus on finding an arrangement that would yield valid
        Senate districts.

  41.   This same basic approach, with dramatic over-population of Cuyahoga and other Northeast
        Ohio districts, was also taken in the 2021 Commission Plan, the Citizens’ Commission Plan,
        and the Sykes 9/15 Plan. It is not entirely clear, however, that the Ohio Constitution requires
        this unusual type of harm to the voters of Northeast Ohio, since Article XI, Section 4(B)(3)
        instructs the commission to “commit the fewest possible violations” in the event that “it is
        not possible to draw representative districts that comply with all of the requirements of this
        article.” The Sykes map of September 2, 2021 does not strictly comply with Article XI,
        Section 4, because it splits Trumbull County (between districts 1 and 18), even though it is
        in the population range of counties for which splits should usually be avoided. The Sykes 9/2
        map is, thus, a useful reference point as a map that takes a slightly different approach to
        interpreting Article XI, Section 4: one that purchases fair representation for Northeast Ohio
        at the rather minute cost of a single county split. In contrast, the Sykes 9/15 plan removes the
        offending county split and reconfigures both the House and Senate maps to under-represent
        Northeast Ohio.

  42.   After resolving the dilemma of Northeast Ohio, my approach was to follow the rules laid out
        by the Ohio Constitution, beginning with House districts, and, within the strict constraints
        regarding municipal and county splits, also attempt to maximize compactness and minimize
        county splits. These goals are sometimes in conflict. In some regions of Ohio, the population


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        sizes and geographic arrangement of counties mean that in order to keep counties together,
        one must tolerate some non-compact districts. In general, since the Constitution calls for the
        use of entire counties as building blocks for districts whenever possible, my approach was to
        prioritize the minimization of county splits when drawing (and refining) first my House and
        then my Senate plan, while also trying to make decisions that facilitated a relatively compact
        set of districts for any given region.

  43.   After achieving these things, I considered an additional factor in metro areas. I attempted to
        avoid drawing districts that excessively packed members of one of the parties in a way that
        would undermine their representation. Moreover, when drawing district lines, I attempted to
        avoid splitting groups of geographically proximate co-partisans in a way that would prevent
        them from forming a majority.

  44.   I did not deviate from the application of traditional redistricting principles in order to help or
        harm one of the political parties. For instance, in Toledo, it is possible to further “unpack”
        urban Democrats and produce an additional majority-Democratic district, but this would
        have created a rather non-compact district that would have also intentionally split
        geographically proximate Republican communities. Elsewhere, in a couple of places it is
        possible within the rules of the Ohio Constitution to string together far-flung Democratic
        industrial and college towns. I avoided drawing districts in this manner. Rather, within the
        confines of the constitutional rules and the application of traditional redistricting criteria, I
        simply made a conscious effort to avoid drawing districts that would have the effect of clearly
        packing or cracking geographically proximate co-partisans.

  45.   I paid no attention to racial data when drawing my maps. However, after completing my
        redistricting plans, I checked for compliance with the Voting Rights Act as follows. First, I
        used precinct-level data on race and partisanship, using the same statewide general election
        races detailed in Table 1 above and, using ecological inference, ascertained whether racially
        polarized voting was present within each of Ohio’s major metropolitan counties. Next, in
        counties where racially polarized voting was present, I made sure that, under my alternative
        Senate and House plans, candidates of choice for Black voters in statewide elections had
        indeed been victorious in the relevant districts in my redistricting plan. In each metro area
        with a large Black community and clear evidence of racially polarized voting—specifically
        Akron, Cincinnati, Dayton, and Toledo—this was clearly the case. I thus did not make any
        changes to my alternative plans to ensure compliance with the Voting Rights Act.

  46.   For my maps, attached as Exhibit I, for each of the alternative maps presented to the
        Commission, and for the Commission’s proposed maps (attached as Exhibit D), I have
        produced compactness scores for the districts to assess the maps’ compliance with Article
        XI, Section 6(C). I have included Reock, Polsby-Popper, and Convex Hull compactness
        measures, each of which takes a somewhat different approach to the notion of district
        compactness.

  47.   Although the Ohio Constitution does not specify the optimal number of county splits, I have
        also calculated the number of county splits generated by each plan. I define a county split in
        the same way as the Ohio Constitution. For example, Franklin County is not considered to
        be split in a House of Representatives plan if 11 districts are formed that fit completely within


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           the county, and no fragment of any district spills over the county boundary. Moreover, a
           county that is kept intact but joined together with other “split” counties is not considered a
           split county. A county is only considered to be split if some part—but not all—of its territory
           is joined with territory from another county in the formation of a district.




    Table 2: Summary Information, Ohio House of Representative Plans Submitted to Ohio
                               Redistricting Commission
                                       Commission   Commission   Sykes   Sykes    Citizens
                                          9/15         9/9        9/2     9/15     9/10      Rodden

   Average compactness scores

   (Higher scores = more compact)

   Reock                                     0.40         0.40    0.40    0.39       0.40      0.41

   Polsby-Popper                             0.30         0.30    0.31    0.29       0.34      0.36

   Area/Convex Hull                          0.74         0.73    0.74    0.72       0.76      0.79



   Number of split counties                   33           33       30      33         43        32




   # of seats with average two-party
   Democratic vote share >.5                  37           32       44      42         43        43

   Expressed as percentage of seats        37.4%        32.3%    44.4%   42.4%     43.4%      43.4%



   # of seats with average two-party
   Republican vote share >.5                  62           67       55      57         56        56

   Expressed as percentage of seats        62.6%        67.7%    55.6%   57.6%     56.6%      56.6%



   Distance from proportional seat
   allocation (seats)                          8           13        1       3          2         2

   Expressed as percentage of seats         8.1%        13.1%    1.0%    3.0%       2.0%       2.0%




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   # of seats with average two-party
   Democratic vote share >.52              32       31        41        38         42         40

   Expressed as a percentage of seats   32.3%    31.3%     41.4%     38.4%      42.4%      40.4%


   # of seats with average two-party
   Democratic vote share <.48              62       63        54        54         54         56

   Expressed as percentage of seats     62.6%    63.6%     54.5%     54.5%      54.5%      56.6%



   # of seats with average two-party
   Democratic vote share between .48
   and .52                                  5        5         4         6          3          3

   Expressed as percentage of seats     5.1%      5.1%      4.0%      6.1%       3.0%       3.0%




  48.    In Table 2, I provide compactness scores and information on county splits for each of the
         Ohio House of Representatives plans I analyzed. Next, using the same technique described
         above, I include the number of majority-Democratic districts, majority-Republican districts,
         expected Democratic districts, expected Republican districts, and toss-up districts that would
         be produced by each plan.

  49.    First, in terms of compactness, Senator Sykes’ initial plan was slightly more compact than
         the Commission’s final September 15 plan, but his revised plan, after reconfiguring
         Northeast Ohio, was slightly less compact. The plan produced by the Citizens’ Commission
         was on average more compact according to both the Polsby-Popper and Convex Hull scores.
         The House map I produced was more compact by every measure than those produced by the
         Commission, Senator Sykes, and the Citizens’ Commission.

  50.    The Commission’s House of Representatives Plan splits 33 counties. The Citizens’
         Commission splits a greater number of counties (43) than does the Ohio Redistricting
         Commission’s, while Senator Sykes’ original plan splits fewer counties (only 30), and his
         revised plan is similar to the Commission’s on this dimension. Likewise, my alternative plan
         splits 32 counties.

  51.    Next, let us examine the partisan outcomes associated with these alternative plans. The
         relevant information is also contained in Table 2. The initial plan submitted by Senator Sykes
         came very close to achieving partisan proportionality. It produced 44 majority-Democratic
         seats and 55 majority-Republican seats—a difference from proportionality of only 1 seat.
         My alternative plan, as well as the plan produced by the Citizens’ Commission, produced 43
         Democratic seats and 56 Republican seats—a difference from proportionality of only 2 seats.
         Senator Sykes’s revised plan produced 42 majority-Democratic seats—a difference from
         proportionality of 3 seats. Again, in contrast to my alternative plan and these other plans,
         which came very close to achieving partisan proportionality, the Ohio Redistricting
         Commission’s final plan deviated 8 seats from true proportionality.


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  52.      In short, the plans introduced by Senator Sykes and the Citizens’ Redistricting Commission
           are relatively similar to the Commission’s Plan in their deference to traditional redistricting
           criteria emphasized in the Ohio Constitution—and my alternative plan is more compact on
           average—but each of these plans also comes much closer to achieving the required partisan
           proportionality. This indicates that the failure of the 2021 Commission Plan to achieve
           partisan proportionality and its overall favorability to Republicans were intentional choices,
           rather than natural outgrowths of other constraints.

  53.      Next, let us undertake a similar comparison of the Ohio Redistricting Commission’s Senate
           maps with these alternative maps. The key information is contained in Table 3. Once again,
           the plans presented by Senator Sykes demonstrated a similar level of average compactness
           to the Commission’s plan on each of the three metrics I considered. And again, my alternative
           plan, along with the plan produced by the Citizens’ Commission, were clearly more compact
           than the Commission plan. Relative to the Commission’s Senate map, my alternative map
           split 2 additional counties, the Sykes maps split 3 additional counties, and the Citizens’ map
           split 5 additional counties.

  54.      The Commission’s Senate map produced only 10 majority-Democratic seats, and 23
           majority-Republican seats. In contrast, both the original Sykes Senate map and the Citizens’
           Commission Senate map produced 14 Democratic seats and 19 Republican seats. The revised
           Sykes map produced 13 Democratic seats and 20 Republican seats. My alternative map
           produced 15 Democratic seats and 18 Republican seats. Recall that the target set forth by the
           Constitution was 15 Democratic seats, meaning that 2 of these plans came within a single
           seat of the target, and 1 achieved proportionality. Again, as with the House of
           Representatives, these alternative maps demonstrate that, for the Senate as well, it is possible
           to abide both by the Ohio Constitution’s traditional redistricting requirements as well as its
           partisan proportionality requirement. The fact that the Commission’s map so strongly favors
           the Republican Party is the result of discretionary choices made by the Commission and
           reflects that the Commission did not attempt to achieve partisan proportionality.

        Table 3: Summary Information, Ohio Senate Plans Submitted to Ohio Redistricting
                                        Commission
                                    Commission   Commission    Sykes      Sykes     Citizens
                                       9/15         9/9         9/2        9/15      9/10      Rodden

   Average compactness scores

   (Higher scores = more compact)

   Reock                                 0.39         0.39      0.39       0.38       0.43        0.44

   Polsby-Popper                         0.31         0.31      0.31       0.31       0.37        0.37

   Area/Convex Hull                      0.73         0.72      0.73       0.74       0.78        0.78



   Number of split counties                13           13        16         16         18         15




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   # of seats with average two-party
   Democratic vote share >.5               10       9      14      13      14      15

   Expressed as percentage of seats     30.3%   27.3%   42.4%   42.4%   42.4%   45.5%


   # of seats with average two-party
   Republican vote share >.5               23      24      19      20      19      18

   Expressed as percentage of seats     69.7%   72.7%   57.6%   60.6%   57.6%   54.5%


   Distance from proportional seat
   allocation (seats)                       5       6       1       2       1       0

   Expressed as percentage of seats     15.2%   18.2%   3.0%    6.1%    3.0%        0




   # of seats with average two-party
   Democratic vote share >.52               9       8      13      12      12      12

   Expressed as a percentage of seats   9.1%    8.1%    13.1%   12.1%   12.1%   12.1%


   # of seats with average two-party
   Democratic vote share <.48              21      21      18      19      18      18

   Expressed as percentage of seats     63.6%   63.6%   54.5%   57.6%   54.5%   54.5%


   # of seats with average two-party
   Democratic vote share between .48
   and .52                                  3       4       2       2       3       3

   Expressed as percentage of seats     3.0%    4.0%    2.0%    2.0%    3.0%    3.0%




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         VI.    WHY DID THE OHIO REDISTRICTING COMMISSION FALL SO FAR
                             SHORT OF PROPORTIONALITY?

  55.   It is clear that the 2021 Commission Plan produces outcomes that are at odds with the partisan
        fairness required by the Ohio Constitution, while alternative plans achieve near-proportional
        outcomes. Next, it is useful to gain a better understanding of how this happened by examining
        the specific choices that led to such striking differences in the partisanship of the
        Commission’s maps relative to the alternative maps. This section examines the differences
        between the maps in more detail, focusing first on aggregate data, and then drilling down
        into the individual regions where different outcomes are notable.

  The Geographic Distribution of Partisanship Across Districts

  56.   In order to gain a better appreciation for the way in which the maps drawn by the Commission
        differ from the more proportional alternative maps presented by Senator Sykes and the
        Citizens’ Commission, and in this report, it is useful to look at how the different maps
        diverged in addressing the geographic distribution of partisanship across districts.

  57.   To do this, I present a kernel density—which is simply a smoothed histogram—that displays
        the distribution of the Democratic vote share across districts for each proposed redistricting
        plan. Figure 2 does this first for the House plans (in the top panel), and then for Senate plans
        (in the bottom panel). The bold line captures the distribution of Democratic vote share across
        the districts in the Commission’s maps, and the dashed gray line captures the same thing for
        the Sykes 9/15 maps. The distributions for the Sykes 9/2 maps as well as the Citizens’
        Commission maps, as well as my own maps, look very similar to the gray dashed lines, so,
        for ease of exposition, I do not include them.

  58.   The basic shape of the kernel density in Figure 2 is one that I have written about elsewhere. 8
        Democratic voters tend to be highly concentrated in the urban core of large cities, while
        Republican voters are concentrated in sprawling rural areas, and suburban areas are
        heterogeneous and competitive. Inner-ring suburban areas usually lean toward Democrats,
        and as one moves to the outer-ring suburbs, the Republican vote share increases. In recent
        years, Democratic majorities have been spilling further out into the suburbs, and in cities like
        Columbus, now reach to the distant outer suburbs and even some exurbs.




  8
   See Jonathan Rodden, 2010 “The Geographic Distribution of Political Preferences,” Annual
  Review of Political Science 13:297-340; Jonathan Rodden, 2019, Why Cities Lose: The Deep
  Roots of the Urban-Rural Political Divide. New York: Basic Books.


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        Figure 2: Distribution of Average Democratic Vote Shares Across Proposed Districts




  59.    The concentration of some Democratic voters in some very urban areas means that it is often
         impossible to avoid drawing electoral districts that are extremely Democratic. As a result,
         both the Commission’s map and the alternative maps produce distributions with a long right
         tail. All of the districts in the right tail of the distributions in Figure 2 are in very urban areas.



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  60.   It should also be noted that in Ohio, many rural areas are also now extremely Republican,
        and it can be difficult to avoid drawing rural districts that are not overwhelmingly
        Republican. This phenomenon is only occasionally tempered by the presence of an isolated
        college town like Oxford or Yellow Springs, which might, for example, turn an otherwise 80
        percent Republican area into a 70 percent Republican area. While the left tail of the
        distribution is not quite as long as the right tail, it also includes a large number of landslide
        Republican districts.

  61.   The overall shape of the distribution—driven by Ohio’s political geography—is similar for
        both the Commission’s plan and the alternative plans. That is to say, both have long right
        tails composed of urban, Democratic districts, and both produce similar numbers of rural,
        highly Republican districts, as demonstrated by the fact that, on the left side of the graph, the
        dashed line and solid line are right on top of one another.

  62.   It is clear that Ohio’s political geography necessitates some solidly Democratic and solidly
        Republican districts, but map-drawers have considerable flexibility in the middle of the
        distribution, and with the extent of packing of Democrats in cities. In Figure 2, we can see
        that the shape of the distribution of partisanship across districts in the Commission’s plan is
        distinctive in the districts that are neither solidly Republican nor solidly Democratic. This is
        apparent as we move to the right on the graph and enter the territory of comfortable, but not
        landslide, Republican victories. The Commission’s maps produce a far larger number of such
        districts. And then, once we cross the 50 percent threshold, there is a dramatic reversal. The
        Commission’s maps produce far fewer districts with Democratic majorities. Finally, the
        maps are also different when we move further to the right, where the black line is above the
        gray dashed line, indicating that the Commission’s maps produce a larger number of
        landslide Democratic districts—what is known in the literature as “packing.”

  63.   How did the Commission and these alternative groups of map-drawers produce maps with
        such starkly different partisan outcomes, given that they were working within the constraints
        of the same political geography and the same rather restrictive rules? To find the answer, we
        must examine Ohio’s cities and their surroundings. The differences between the black and
        gray lines in Figure 2 is driven by choices made in and around cities. In particular, the
        Commission’s maps produced notably fewer majority-Democratic districts in the regions
        around Akron, Cincinnati, Cleveland, Columbus, and Dayton.

  Franklin County Area

  64.   Consider Franklin County and its surroundings. Figure 3 displays this region, with yellow
        lines corresponding to the districts drawn in the 2021 Commission House map. Colors go
        from light blue to dark blue as the precinct-level 2020 presidential Democratic vote share
        increases. From Figure 3, one can see how the Commission’s district boundaries correspond
        to partisanship.

  65.   Several things are noteworthy about the Commission’s map. First, as Franklin County has
        become more Democratic over time, and as Democratic dominance has spilled over from the
        urban core to suburban areas, there is now only one possible area for the construction of a
        comfortable majority-Republican district—in the southwest corner. District 10 in the


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        Commission’s map pulls together all of the most Republican exurban parts of Franklin
        County in order to carve out such a district. This district runs almost the entire length of
        Franklin County, from the southern border almost to the northern border, stopping just short
        of the more Democratic-leaning suburban areas in the northwest corner of the county.

  66.   Second, in the northwest corner of the county, Dublin—especially the part in Franklin
        County closest to Ohio State University—is an educated suburban community that has been
        drifting toward the Democratic Party in recent years. It is one of the most Democratic border-
        adjacent communities in Franklin County. However, instead of connecting it with
        surrounding Democratic-leaning communities, the Commission map splits Franklin County
        in the northwest corner to extract Dublin from the rest of Franklin County, combining Dublin
        with relatively rural Union County. In doing so, the Commission map thus extracts a growing
        Democratic community and embeds it in a district with numerically greater rural
        Republicans. Given its population of 1,323,807, Franklin County could easily accommodate
        11 districts without a split. Instead, the Commission chose to create 9 under-populated
        districts and extract a relatively large chunk of Democratic voters from the county,
        preventing those voters from contributing to an additional Democratic district.

  67.   Finally, there is a group of growing, increasingly Democratic-leaning Columbus suburbs
        hugging the southern border of Delaware County, and a corridor of Democratic-leaning
        precincts connecting to the relatively Democratic town of Delaware. If we use decade
        averages, these suburbs appear to be Republican leaning. However, they have moved sharply
        toward the Democratic Party in recent years, and in the 2020 Presidential Election, a majority
        of voters in these suburbs voted for the Democratic candidate. Using the most recent election
        results, these areas would easily correspond to a compact majority-Democratic district.
        Instead, the Commission’s districts split those increasingly Democratic voters in half with a
        north-south dividing line, thus preventing a majority-Democratic district from emerging in
        that area, instead producing 2 very comfortable Republican districts. This is a classic
        example of what is known in the literature on gerrymandering as “cracking.”




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   Figure 3: Franklin County and Surroundings; Partisanship and the Commission’s House
                                       Boundaries




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  68.   It is useful to contrast the Commission’s plan with the alternative plans that exhibited greater
        statewide proportionality. Beginning with the Commission’s plan, followed by my own
        alternative plan (referred to as the “my plan” or the “Rodden plan”), the Sykes 9/15 plan, and
        the Citizens’ Commission plan, Figure 4 simply displays the districts with Democratic
        majorities in blue and Republican majorities in red, using averages over all statewide
        elections from 2012 to 2020. Similar maps will be presented below for other regions, where
        highly competitive districts, with average Democratic vote share between 48 percent and 52
        percent will be displayed with separate colors, but none of the districts displayed in Figure 4
        are in that range.

  69.   In Franklin County and the surrounding area, the Commission’s plan produces 10 majority-
        Democratic House districts. In Figure 4, we can see that the Rodden plan, along with the
        Citizens’ Commission plan, produces 11 majority-Democratic districts, while the Sykes plan
        produces 12.

  70.   Let us now examine the choices made in the alternative maps that produced additional
        Democratic-leaning Franklin-County districts. First, those drawing alternative maps simply
        avoided making a special effort to carve out a Republican district in the southwest. For
        instance, my plan included a relatively compact district in the southwest corner of the county,
        but I made no effort to keep Democratic-leaning Columbus districts out in order to craft a
        Republican-leaning district.

  71.   Second, since they did not attempt to carve out a Republican district, the alternative plans
        engaged in less packing of Democrats into highly non-competitive districts. While the
        Commission’s plan produced 4 Franklin-County districts where the Democratic vote share
        was above 75 percent, each of the alternative plans each produced only 2 such districts.

  72.   Third, the alternative plans took different approaches to splitting the county. As described
        above, my approach was to keep counties whole whenever possible. Since it was possible to
        avoid splitting Franklin County, I did not introduce a split. Like the Commission’s plan, the
        Sykes plan did include a split, and it generated a district that combined some Franklin County
        precincts that favor Democrats with some rural Republican precincts in a surrounding county
        (Pickaway). But Pickaway is a smaller county than Union, such that while the Commission’s
        split produced a comfortable Republican district in the northwest, the Sykes plan’s split
        produced a competitive but Democratic-leaning district in the south. The Citizens’
        Commission did not produce systematically underpopulated districts in Franklin County and,
        as a result, required a much smaller split fragment of Franklin County.

  73.   Fourth, note that each of the alternative plans produced a compact district in southern
        Delaware County by keeping the growing Columbus suburbs together rather than splitting
        them in half. These districts are colored red in Figure 4, which is based on average vote
        shares over the last decade. However, if one focuses on the 2020 presidential election, these
        districts are majority-Democratic. Joseph Biden received around 51 percent of the vote in
        district 61 in both configurations.




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     Figure 4: Franklin County and Surroundings; Party Majorities Associated with House
                           Boundaries of Four Redistricting Plans




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  74.   Finally, it is worth noting that the districts in my plan are more compact than those created
        by the Commission. If we leave aside Delaware County and focus only on the districts of
        Franklin County, the average compactness of my districts, according to the Polsby-Popper
        score, was .39, while the score for the Commission’s plan was .19. The score for the Sykes
        plan was .25, and that for the Citizens’ plan was .30. The average Reock score for my plan
        was .47, while the score for the Commission’s plan was .37. The scores for the Sykes and
        Citizens’ plans were .40 and .37 respectively.

  Hamilton County Area

  75.   Next, let us examine the Cincinnati area. Again, it is useful to get the lay of the land by
        viewing a precinct-level map of partisanship, superimposing the Commission’s districts. It
        is also useful to understand the arrangement of race, which is highly correlated with voting
        behavior in metro Cincinnati. Figure 5 demonstrates that there is a north-south swath of
        Black voters in the middle of Hamilton County. These communities vote in large numbers
        for Democratic candidates. However, there are also Democratic-leaning suburban
        communities on the east side of Cincinnati that are not predominantly Black.

  76.   On the west side of Hamilton County, a majority-white, Republican-leaning district will
        emerge in the outer-ring suburbs and exurbs of Cincinnati in almost any configuration.
        However, the Commission has crafted a second majority-Republican district by keeping both
        districts as small as possible (within the 5 percent population deviation constraint) and
        reaching into Forest Park City—a majority-Black and overwhelmingly Democratic area, and
        surrounding precincts, in order to assemble sufficient population to produce an additional
        majority-Republican district. As discussed further below, this maneuver led to the creation
        of a relatively non-compact set of Hamilton County districts.

  77.   Moreover, by carefully avoiding Democratic neighborhoods, the Commission’s plan also
        extracted a Republican-leaning district in Cincinnati’s eastern suburbs (District 27). In
        addition, in the northern suburbs, District 28 in the Commission’s plan, while Democratic
        leaning, is within reach for Republican candidates, with an average Democratic vote share
        of around 52 percent.




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   Figure 5: Hamilton County and Surroundings; Partisanship, Race, and the Commission’s
                                    House Boundaries




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  78.   Next, let us examine the alternative plans. Like the Commission’s map, each of the
        alternative maps avoided splitting Hamilton County, which wholly contains 7 districts in
        each map. The Commission’s map produced 3 Republican districts and 4 Democratic
        districts, 1 of which was relatively competitive. My plan, along with the Citizens’ plan,
        produced a 6-1 breakdown, and the Sykes plan produced a 5-2 breakdown, both in favor of
        the Democrats.

    Figure 6: Hamilton County and Surroundings; Party Majorities Associated with House
                          Boundaries of Four Redistricting Plans




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  79.   What accounts for these differences? Above all, these alternative plans made no efforts to
        craft a second Republican district in the suburbs by cracking Black neighborhoods in the
        northern part of the county, leaving them with only a single exurban Republican-leaning
        district. Second, by adopting an east-west rather than north-south orientation for the
        boundaries on the east side of the county, my plan, along with the Citizens’ plan, did not
        craft an eastern Republican-leaning district.

  80. Finally, as with Franklin County, the plans that exhibited greater statewide partisan
      proportionality were also the most compact in Hamilton County. My plan and the Citizens’
      Commission plan, both with 6-1 Democratic margins, were the most compact plans in
      Hamilton County. The average Polsby-Popper score for the Citizens’ plan was .31, and for
      my plan it was .26. The Commission’s plan and the Sykes plan each had scores of .17. The
      story is similar for the Reock score. The average for my plan was .43, and for the Citizens’
      plan it was .41, while for the two more Republican-leaning plans (the Commission’s plan
      and the Sykes plan), the scores were .32 and .34 respectively.

  Montgomery County Area

  81.   Next, let us move a few miles to the north and examine the Dayton area. In the Commission’s
        House plan, only 1 of 5 Montgomery-based seats (number 38) has a clear Democratic
        majority, while an additional seat (number 36) was essentially a tie, with an average
        Democratic vote share of 50.03 percent. The other 3 seats had comfortable Republican
        majorities.

  82.   In my plan, there were 3 majority-Democratic seats, although 1 of them was a marginal seat,
        with an average Democratic vote share of 51.5 percent. Likewise, both the Sykes and
        Citizens’ Commission plans produced 3 majority-Democratic seats. In order to see how the
        Commission’s plan produced such a surprisingly pro-Republican outcome, let us once again
        examine how the Commission’s districts interact with the partisan and racial geography of
        the county.

  83.   In Figure 7, the Commission’s House district boundaries are superimposed on maps of
        partisanship and race in the Montgomery County area. The Commission’s plan takes the
        relatively compact Black community of metropolitan Dayton, which votes overwhelmingly
        for Democratic candidates, and scatters it across 4 separate districts. The district with the
        largest Black community—number 38—is a majority-Democratic district. In fact, it is a
        super-majority Democratic district, where on average, Democrats win 69 percent of the vote.
        However, all of the other fragments of Dayton’s Black community are combined with
        sufficient numbers of surrounding white, suburban populations in the 4 other Montgomery
        districts to generate 1 true toss-up (District 36) and 3 districts with comfortable Republican
        majorities.

  84.   A key part of this approach was to extract the Black community of Trotwood and other areas
        on the west side of Dayton and combine them with far-flung, rural Preble County to the west.
        Considerable care and craft seem to have gone into this effort to break up Black areas of
        metropolitan Dayton in a way that prevents the emergence of majority-Democratic districts.



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        Figure 7: Montgomery County and Surroundings; Partisanship, Race, and the
                            Commission’s House Boundaries




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   Figure 8: Montgomery County and Surroundings; Party Majorities Associated with House
                          Boundaries of Four Redistricting Plans




  85.    Again, in order to appreciate the partisan impact of the Commission’s approach to scattering
        the Dayton Black community across multiple districts, it is useful to examine the alternative
        maps. Following the same format as above, Figure 8 provides maps that facilitate comparison
        of the Commission’s plan with the alternative plans.




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  86.   Simply by keeping Dayton-area communities together, my map produced a relatively
        compact, very Democratic central Dayton district, as well as a Democratic-leaning northern
        suburban district, and a competitive but Democratic-leaning suburban district to the south.
        My plan also includes a Republican-leaning exurban district to the South, and a western
        exurban district that, like the Commission’s district, combines with Preble County. A notable
        difference, however, is that my plan does not extract western Dayton-area Black
        communities in order to place them in a predominantly rural district. The configuration is
        different, but the same overall structure is present in the Citizens’ plan. The Sykes plan has
        some similarities, but it is less compact, and combines parts of the Southern and western
        suburbs.

  87.   Once again, my plan and the plan produced by the Citizens’ Commission, were substantially
        more compact according to the Polsby-Popper score, with average scores of .27 and .29
        respectively for the Montgomery districts. The average score of the Commission’s plan was
        .15, and the Sykes plan was .13. The four plans were less distinctive, however, according to
        the Reock score—all were bunched together with scores ranging from .37 to .39.

  Northeast Ohio

  88.   Next, let us examine Northeast Ohio. As described above, all of the mapmakers faced
        difficult constraints associated with the strict rules for the construction of Senate districts,
        and these rules had implications for House districts as well. Each of the redistricting plans
        considered here ended up with the same basic solution: they drew consistently under-
        populated districts in Cuyahoga County, and indeed throughout the northeastern part of the
        state, and included a district that combines parts of several counties. Also, in each plan, it
        was necessary to create a district that kept Canton, Ohio whole.

  89.   In spite of these constraints, the Commission’s plan ended up with a very different partisan
        outcome than the alternative plans. If we consider Northeast Ohio to be the area contained in
        Figure 9, the Commission’s House plan includes 14 districts with average Democratic vote
        shares above 52 percent, and an additional 4 districts with very slim Democratic majorities,
        for a total of 18 majority-Democratic districts. As mentioned above, the Commission’s
        House plan does not include any bare-majority Republican districts, in Northeast Ohio or
        anywhere else. Under the Commission’s plan, 18 is perhaps the upper limit of districts that
        might be competitive for Democratic candidates.

  90.   In my plan, there are 17 districts with an average Democratic vote share above 52 percent,
        and 2 additional districts with Democratic vote shares between 50 and 52 percent, so that
        overall, there are 19 Democratic-leaning districts. The Sykes plan includes 17 districts with
        average Democratic majorities greater than 52 percent, 2 districts with slim Democratic-
        majorities, and 2 districts with slim Republican majorities, for a total of 19 Democratic-
        leaning districts, and 21 districts that could be at least competitive for Democratic candidates.
        The House plan produced by the Citizens’ Commission produced 19 districts with average
        Democratic vote shares greater than 52 percent, and 2 additional districts with slim
        Republican majorities, again producing 21 districts that could be competitive for Democratic
        candidates.



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  91.   To understand the sources of these differences, let us proceed through the region, guided by
        the image of the Commission’s district boundaries superimposed on precinct-level election
        results (Figure 9), and images capturing the partisan outcomes produced by the
        Commission’s maps and the alternative maps (Figure 10).



        Figure 9: Northeast Ohio; Partisanship and the Commission’s House Boundaries




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    Figure 10a: Northeast Ohio; Party Majorities Associated with House Boundaries of the
                    Commission’s Plan and the Rodden Alternative Plan




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    Figure 10b: Northeast Ohio; Party Majorities Associated with House Boundaries of the
                         Sykes 9/15 and Citizens’ Commission Plans




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  92.   I begin with the county of Lorain. There are long-standing Democratic strongholds in each
        of the old industrial towns along the lake between the Sandusky Bay and Cleveland,
        including Lorain and Elyria, both of which are in Lorain County. Slightly to the southwest
        of Elyria is the small Democratic stronghold of Oberlin. Combined with their Republican
        suburban and rural surroundings, these towns make Erie and Lorain extremely competitive.
        Democrat Richard Cordray won Lorain County in the 2018 gubernatorial election by 6,578
        votes, and all other statewide Democrats also won Lorain County that year, but Donald
        Trump won Lorain County by 3,853 votes in the 2020 presidential election. In Erie County,
        while Trump won by over 4,000 votes in 2020, Republican Governor DeWine received only
        83 more votes than Cordray.

  93.   In this region, the Commission’s plan produced only a single, very Democratic seat, with an
        average Democratic vote share of 63 percent, surrounded by comfortably Republican seats.
        This was achieved by combining the cities of Lorain and Elyria into a single district,
        numbered 51. When drawing districts in Lorain County, I avoided this packing strategy.
        Rather, I drew separate Lorain (50) and Elyria (51) districts. The Sykes map also created
        separate Lorain (53) and Elyria-based (52) districts. In both my map and the Sykes map, the
        Lorain-based district ends up comfortably Democratic, while the Elyria seat is Democratic-
        leaning but quite competitive. The Sykes approach also creates a competitive Republican-
        leaning district that includes Sandusky and Oberlin. In general, the Sykes plan makes this
        section of the Lake Erie coastline quite competitive relative to the Commission’s plan. The
        Citizens’ Commission plan produces 2 comfortably Democratic seats, by creating a Lorain-
        centric district, numbered 53, as well as an elongated coastal district that pulls together
        Elyria, Oberlin, and Sandusky.

  94.   Next, in Cuyahoga County, the Commission’s plan carved out a comfortable Republican
        district along the southern border of the county, numbered 17, as well as a competitive
        Parma-based district, numbered 15. Looking at Figure 9, one can see that district 17 was
        drawn so as to pull together Republican-leaning communities in the outer suburbs. Using all
        of the elections since 2016, District 15 has an average Democratic vote share of 51.7 percent,
        but it should be noted that Donald Trump won majorities in this district in both 2016 and
        2020. In addition, the district that combines Cuyahoga, Geauga, and Summit counties is
        essentially a toss-up, with an average Democratic vote share of 50.1 percent. In short, this
        plan creates 3 districts that are either comfortable or quite competitive for Republican
        candidates.

  95.   As described above, my approach to Cuyahoga County was to pay no attention to
        partisanship, but rather, to focus on generating a House plan that would enable a valid Senate
        plan. This required careful efforts to avoid splitting municipalities, while creating districts
        that were as close as possible to the 5 percent population deviation threshold. Those efforts
        did not yield a majority-Republican district in southern Cuyahoga County. The same was
        true of the Citizens’ plan, but the Sykes 9/15 plan did produce one such district.

  96.   As in other metro areas examined above, an important part of the reason for the difference
        between the Commission’s plan and the alternative plans in Cuyahoga County is that the
        Commission produces 6 districts with Democratic majorities higher than 70 percent, while
        each of the alternative plans produces only 4 such highly packed districts.


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  97.   Next, let us turn to Summit County. The Commission’s plan produces 3 comfortable
        Democratic districts and 1 comfortable Republican district. My plan divided most of the
        county into 4 relatively compact quadrants, which generated 4 Democratic-leaning districts.
        The Sykes plan and Citizens’ Commission plans also produced 3 majority-Democratic
        districts and 1 majority-Republican district, but 1 of the majority-Democratic districts in the
        Sykes plan—number 32—is extremely competitive, with an average Democratic vote share
        of only 50.7 percent.

  98.   Next, each redistricting plan had a different approach to the city of Canton. In the
        Commission’s plan, the Canton district, number 49, is quite competitive for Republican
        candidates, with an average Democratic vote share of 51 percent. In my plan, and in both the
        Sykes and Citizens’ Commission plans, a more compact Canton-based district (numbered 47
        in the Rodden plan and 49 in the others), produced more comfortable Democratic majorities
        (53.9 percent in the Rodden plan, 54.5 in the Sykes plan, and 54.1 percent in the Citizens’
        plan).

  99.   Finally, Mahoning County is evenly divided, with 1 majority-Democratic districts and 1
        majority-Republican district in the Commission’s plan, in the Rodden plan, and in the Sykes
        plan. The population of Mahoning County makes it possible to draw 2 House districts that
        fall completely within Mahoning County. My plan, as well as the Citizens’ Commission plan,
        were able to achieve this. Note that the configuration adopted by the Citizens’ Commission
        plan led to the creation of 2 majority-Democratic districts rather than only 1.

  100. As with the other metro areas examined above, in Northeast Ohio, my alternative plan, as
       well as the plans introduced by Senator Sykes and the Citizens’ Commission produced a
       larger number of majority-Democratic districts than did the Commission’s plan—thus
       pushing the overall plan in the direction of statewide partisan proportionality. This was not
       achieved by abandoning the application of traditional redistricting principles. By avoiding a
       split of Mahoning County, my plan and the Citizens’ Commission plan contained 1 fewer
       county split in Northeast Ohio than did the Commission’s plan. There is no evidence that the
       specific county splits and mergers selected in the Sykes or Citizens’ Commission plans did
       greater violence to specific communities of interest than did the Commission’s plan. As in
       the other parts of Ohio explored above, my alternative map was more compact on average
       than the Commission’s map. The average Polsby-Popper score for my map, as well as the
       Citizens’ map, in the districts of Northeast Ohio was .35. The score for the Commission’s
       plan was .30, and that for the Sykes plan was .27. The average Reock scores were closer
       together. The average score for my plan was .41, the Citizens’ Commission and the Ohio
       Redistricting Commission were both .39, and Sykes plan was .37.

  Summary of Case Studies

  101. This tour around Ohio’s metropolitan areas helps explain how the Commission managed to
       produce so many Republican-majority districts relative to the statewide vote share. For the
       most part, they followed the strategy of packing and cracking the supporters of their
       opponents. In each metropolitan area discussed above, the Commission generated a set of
       extremely Democratic districts in urban core areas, leaving fewer Democrats to contribute to
       potential Democratic majorities in other districts. As demonstrated by the alternative maps,


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       it was always possible to abide by traditional redistricting principles and draw compact
       districts that did not produce nearly as many extremely Democratic districts. Packing
       occurred not just in dense neighborhoods in large cities. Another example of packing is in
       Lorain County, where two Democratic cities were stuffed into the same district.

  102. Second, when possible, the Commission’s maps attempted to prevent geographically
       proximate groups of Democrats from joining together to form a district. In the Cincinnati
       and Dayton metro areas, for instance, this involved splitting proximate suburban Black
       communities and scattering them across majority-Republican districts that were largely
       exurban and even rural. As demonstrated by the alternative plans, these choices were not
       driven by constitutional rules, traditional redistricting principles, or geographic constraints.
       Rather, they were driven by discretionary choices.

  103. Third, while keeping proximate groups of Democrats apart, when possible, the
       Commission’s plans always attempted to string together groups of proximate Republicans to
       carve out majority-Republican districts within urban counties. Often, this involved a
       configuration based on long, narrow strips hugging the county boundary in sparsely
       populated exurban areas. Examples include District 10 in southwest Franklin County,
       District 27 in eastern Hamilton County, District 39 outside of Dayton, and District 17 in
       southern Cuyahoga County. District 31 in Summit County follows the Republican-leaning
       exurbs almost all the way around Akron.

  104. Additionally, the Commission was careful in its use of county splits near cities. In Franklin
       County, for example, the Commission created a series of under-populated but extremely
       Democratic districts, freeing up voters to combine with a neighboring rural, Republican
       county, thus minimizing the Democratic seats produced in the Columbus area.

  105. These case studies demonstrated that it is not always necessary to draw bizarre-shaped
       districts in order to pursue the cracking and packing maneuvers that produce surprisingly
       pro-Republican outcomes. However, it is telling that in each metro area my maps were, on
       average, more compact than those produced by the Commission according to the Polsby-
       Popper measure, and in most cases, according to the Reock measure as well. The same was
       true of the maps produced by the Citizens’ Commission. Recall from Tables 2 and 3 above
       that when considered as a whole, my maps and those produced by the Citizens’ Commission
       were more compact by every measure than those produced by the Ohio Redistricting
       Commission.

  106. Overall, the contrast between the Commission’s map and the alternative maps allows us to
       rule out the claim that the surprisingly large number of anticipated Republican seats
       associated with the Commission’s plan were somehow driven by the confluence of Ohio’s
       political geography, the requirements of the Ohio Constitution, and a focus on traditional
       redistricting principles. Indeed, we have seen that three very different alternative plans came
       very close to overall partisan proportionality, while abiding by the rules of the Ohio
       Constitution and often hewing more closely to traditional redistricting principles.




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                                         VII.    CONCLUSION

  107. Under no reasonable statistical method or definition do the Ohio State House of
       Representatives and Senate maps adopted by the Ohio Redistricting Commission achieve
       partisan proportionality.

  108. The Commission’s plan favors Republicans for reasons other than compliance with
       traditional redistricting principles and the Ohio Constitution’s other requirements, as
       demonstrated by maps that I have prepared myself, as well as alternative maps presented to
       the Commission. These alternative maps achieve far greater partisan proportionality and are
       relatively similar, indeed in many cases better, according to traditional redistricting
       principles.



                                                           _______________________________
                                                           Jonathan Rodden

   STATE OF FLORIDA COUNTY OF Duval
  Sworn to before me this _______
                           22nd   day of October 2021.   by    Jonathan Andrew Rodden
                                                              Provided Identification: Passport



  __________________________________
  Notary Public Richard T Schnell
   Notarized online using audio-video communication




  My commission expires ______________________________
                          08/09/2024




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                                 CERTIFICATE OF SERVICE

         I, Derek Clinger, hereby certify that a copy of Evidence of Bennett Relators (Expert
  Affidavit of Dr. Jonathan Rodden) was served via email this 22nd day of October, 2021, upon
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    AFFIDAVIT OF DR. JONATHAN RODDEN – APPENDIX OF EXHIBITS


                                  Index of Documents

    ITEM                     DESCRIPTION                         BATES RANGE
      A                   2021 Commission Plan                 RODDEN_0001 – 0003
      B                     2011 Adopted Plan                  RODDEN_0004 – 0006
      C      September 2, 2021 Ohio Senate Democratic Update   RODDEN_0007 – 0009
      D          September 9, 2021 Ohio Senate President       RODDEN_0010 – 0012
      E        Ohio Citizens’ Redistricting Commission Plan    RODDEN_0013 – 0015
      F              Article XI, Sec 8(C)(2) Statement         RODDEN_0016 – 0018
      G          Curriculum Vitae of Dr. Jonathan Rodden       RODDEN_0019 – 0027
      H       September 15, 2021 House& Senate Dem Caucus      RODDEN_0028 – 0030
       I                 Rodden Alternative Plan               RODDEN_0031 – 0033
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                              Exhibit




                                                                          RODDEN_0001
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                              Exhibit




                                                                          RODDEN_0004
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                             Ohio House Districts 2012-2022
                                                                   (As Adopted 2012)
District 01 Counties                  District 33 Counties                      •    A portion of Warren County      District 84 Counties
  •    Wayne County                     •    A portion of Hamilton County     District 63 Counties                     •    Mercer County
District 02 Counties                  District 34 Counties                      •    A portion of Trumbull County      •    A portion of Auglaize County
  •    Richland County                  •    A portion of Summit County       District 64 Counties                     •    A portion of Darke County
District 03 Counties                  District 35 Counties                      •    A portion of Ashtabula County     •    A portion of Shelby County
  •    Wood County                      •    A portion of Summit County         •    A portion of Trumbull County    District 85 Counties
District 04 Counties                  District 36 Counties                    District 65 Counties                     •    Champaign County
  •    Allen County                     •    A portion of Summit County         •    A portion of Clermont County      •    A portion of Logan County
District 05 Counties                  District 37 Counties                    District 66 Counties                     •    A portion of Shelby County
  •    Columbiana County                •    A portion of Summit County         •    Brown County                    District 86 Counties
District 06 Counties                  District 38 Counties                      •    A portion of Clermont County      •    Union County
  •    A portion of Cuyahoga County     •    A portion of Stark County        District 67 Counties                     •    A portion of Marion County
District 07 Counties                    •    A portion of Summit County         •    A portion of Delaware County    District 87 Counties
  •    A portion of Cuyahoga County   District 39 Counties                    District 68 Counties                     •    Crawford County
District 08 Counties                    •    A portion of Montgomery County     •    Knox County                       •    Morrow County
  •    A portion of Cuyahoga County   District 40 Counties                      •    A portion of Delaware County      •    Wyandot County
District 09 Counties                    •    A portion of Montgomery County   District 69 Counties                     •    A portion of Marion County
  •    A portion of Cuyahoga County   District 41 Counties                      •    A portion of Medina County        •    A portion of Seneca County
District 10 Counties                    •    A portion of Montgomery County   District 70 Counties                   District 88 Counties
  •    A portion of Cuyahoga County   District 42 Counties                      •    Ashland County                    •    Sandusky County
                                        •    A portion of Montgomery County     •    A portion of Holmes County        •    A portion of Seneca County
District 11 Counties
  •    A portion of Cuyahoga County   District 43 Counties                      •    A portion of Medina County      District 89 Counties
                                        •    Preble County                    District 71 Counties                     •    Erie County
District 12 Counties
                                        •    A portion of Montgomery County     •    A portion of Licking County       •    Ottawa County
  •    A portion of Cuyahoga County
District 13 Counties                  District 44 Counties                    District 72 Counties                   District 90 Counties
                                        •    A portion of Lucas County          •    Coshocton County                  •    Adams County
  •    A portion of Cuyahoga County
                                                                                •    Perry County                      •    Scioto County
District 14 Counties                  District 45 Counties
                                                                                •    A portion of Licking County       •    A portion of Lawrence County
  •    A portion of Cuyahoga County     •    A portion of Lucas County
                                      District 46 Counties                    District 73 Counties                   District 91 Counties
District 15 Counties
                                                                                •    A portion of Greene County        •    Clinton County
  •    A portion of Cuyahoga County     •    A portion of Lucas County
                                                                              District 74 Counties                     •    Highland County
District 16 Counties                  District 47 Counties
                                                                                •    Madison County                    •    Pike County
  •    A portion of Cuyahoga County     •    A portion of Fulton County
                                                                                •    A portion of Clark County         •    A portion of Ross County
District 17 Counties                    •    A portion of Lucas County
                                                                                •    A portion of Greene County      District 92 Counties
  •    A portion of Franklin County   District 48 Counties
                                                                              District 75 Counties                     •    Fayette County
District 18 Counties                    •    A portion of Stark County
                                                                                •    A portion of Portage County       •    A portion of Pickaway County
  •    A portion of Franklin County   District 49 Counties                                                             •    A portion of Ross County
District 19 Counties                    •    A portion of Stark County        District 76 Counties
                                                                                •    A portion of Geauga County      District 93 Counties
  •    A portion of Franklin County   District 50 Counties                                                             •    Gallia County
                                        •    A portion of Stark County          •    A portion of Portage County
District 20 Counties                                                                                                   •    Jackson County
  •    A portion of Franklin County   District 51 Counties                    District 77 Counties
                                                                                •                                      •    A portion of Lawrence County
District 21 Counties                    •    A portion of Butler County                                                •    A portion of Vinton County
  •    A portion of Franklin County   District 52 Counties                    District 78 Counties
                                                                                •    Hocking County                  District 94 Counties
District 22 Counties                    •    A portion of Butler County                                                •    Meigs County
                                      District 53 Counties                      •    Morgan County
  •    A portion of Franklin County                                                                                    •    A portion of Athens County
                                        •    A portion of Butler County         •    A portion of Athens County
District 23 Counties                                                                                                   •    A portion of Vinton County
                                                                                •
  •    A portion of Franklin County   District 54 Counties                                                             •    A portion of Washington County
                                                                                •    A portion of Muskingum County
District 24 Counties                    •    A portion of Butler County                                              District 95 Counties
                                                                                •    A portion of Pickaway County
  •    A portion of Franklin County     •    A portion of Warren County                                                •    Carroll County
                                      District 55 Counties                    District 79 Counties
District 25 Counties                                                            •    A portion of Clark County         •    Harrison County
  •    A portion of Franklin County     •    A portion of Lorain County                                                •    Noble County
                                      District 56 Counties                    District 80 Counties
District 26 Counties                                                            •    Miami County
                                                                                                                       •    A portion of Belmont County
  •    A portion of Franklin County     •    A portion of Lorain County                                                •    A portion of Washington County
                                                                                •    Darke County
District 27 Counties                  District 57 Counties                                                           District 96 Counties
                                        •    Huron County
                                                                              District 81 Counties
  •    A portion of Hamilton County                                                                                    •    Jefferson County
                                                                                •    Henry County
District 28 Counties                    •    A portion of Lorain County                                                •    Monroe County
                                                                                •    Putnam County
  •    A portion of Hamilton County   District 58 Counties                                                             •    A portion of Belmont County
                                                                                •    Williams County
District 29 Counties                    •    A portion of Mahoning County                                            District 97 Counties
                                                                                •    A portion of Fulton County
  •    A portion of Hamilton County   District 59 Counties                                                             •    Guernsey County
                                                                              District 82 Counties
District 30 Counties                    •    A portion of Mahoning County                                              •    A portion of Muskingum County
                                                                                •
  •    A portion of Hamilton County   District 60 Counties                      •    Paulding County                 District 98 Counties
District 31 Counties                    •    A portion of Lake County                                                  •    Tuscarawas County
                                                                                •    Van Wert County
  •    A portion of Hamilton County   District 61 Counties                      •    A portion of Auglaize County      •    A portion of Holmes County
District 32 Counties                    •    A portion of Lake County                                                District 99 Counties
                                                                              District 83 Counties
  •    A portion of Hamilton County   District 62 Counties                      •    Hancock County                    •    A portion of Ashtabula County
                                                                                •    Hardin County                     •    A portion of Geauga County
For the most up-to-date and detailed information on each                        •    A portion of Logan County
district, please contact the local county board of elections.                                                                 Last Revised 02/2018
                                                                                                                                   RODDEN_0005
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                         Ohio Senate Districts 2012-2022
                                                       (As Adopted 2012)
D istric t 01 Cou nt i e s                    •                                •
   •                                          •
                                                                            Di s tri c t 24 C ou nti es
   •
                                           D i st r i c t 1 3 C ou nti es      •
   •
                                              •
   •                                                                        Di s tri c t 25 C ou nti es
                                              •
   •                                                                           •
   •                                       D i st r i c t 1 4 C ou nti es      •
   •                                          •
                                                                            Di s tri c t 26 C ou nti es
   •                                          •
                                                                               •
   •                                          •
                                                                               •
   •                                          •
                                                                               •
   •                                          •
                                                                               •
D istric t 02 Cou nt i e s                 D i st r i c t 1 5 C ou nti es      •
   •                                          •                                •
   •                                                                           •
                                           D i st r i c t 1 6 C ou nti es
   •
                                              •                             Di s tri c t 27 C ou nti es
   •
                                                                               •
   •                                       D i st r i c t 1 7 C ou nti es
                                                                               •
                                              •
D istric t 03 Cou nt i e s                                                     •
                                              •
   •
                                              •                             Di s tri c t 28 C ou nti es
D istric t 04 Cou nt i e s                    •                                •
   •                                          •
                                                                            Di s tri c t 29 C ou nti es
                                              •
D istric t 05 Cou nt i e s                                                     •
                                              •
   •
                                              •                             Di s tri c t 30 C ou nti es
   •
                                              •                                •
   •
                                              •                                •
   •
                                                                               •
                                           D i st r i c t 1 8 C ou nti es
D istric t 06 Cou nt i e s                                                     •
                                              •
   •                                                                           •
                                              •
                                                                               •
D istric t 07 Cou nt i e s                    •
                                                                               •
   •
                                           D i st r i c t 1 9 C ou nti es      •
   •
                                              •                                •
   •
                                              •                                •
D istric t 08 Cou nt i e s
                                           D i st r i c t 2 0 C ou nti es   Di s tri c t 31 C ou nti es
   •
                                              •                                •
D istric t 09 Cou nt i e s                    •                                •
   •                                          •                                •
                                              •                                •
D istric t 10 Cou nt i e s
                                              •                                •
   •
                                              •
   •                                                                        Di s tri c t 32 C ou nti es
                                              •
   •                                                                           •
                                           D i st r i c t 2 1 C ou nti es      •
D istric t 11 Cou nt i e s
                                              •                                •
   •
                                           D i st r i c t 2 2 C ou nti es   Di s tri c t 33 C ou nti es
D istric t 12 Cou nt i e s
                                              •                                •
   •
                                              •                                •
   •
                                              •
   •
                                              •
   •
   •                                       D i st r i c t 2 3 C ou nti es

For the most up-to-date and detailed information on each
district, please contact the local county board of elections.                                         Last Revised 02/2018
                                                                                                          RODDEN_0006
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                              Exhibit




                                                                           RODDEN_0007
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                                               RODDEN_0008
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                                                RODDEN_0009
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                              Exhibit




                                                                           RODDEN_0010
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                                                                        RODDEN_0011
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                                                                        RODDEN_0012
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                              Exhibit




                                                                           RODDEN_0013
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                                                    RODDEN_0014
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                                                    RODDEN_0015
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                              Exhibit




                                                                           RODDEN_0016
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                                                                           RODDEN_0017
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                                                                           RODDEN_0018
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                              Exhibit




                                                                           RODDEN_0019
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   616 Serra Street                                     Homepage:   http://www.jonathanrodden.com
   Stanford, CA 94305


   Personal
      Born on August 18. 1971, St. Louis, MO.

      United States Citizen.


   Education
      Ph.D. Political Science, Yale University, 2000.
      Fulbright Scholar, University of Leipzig, Germany, 1993–1994.
      B.A., Political Science, University of Michigan, 1993.


   Academic Positions
      Professor, Department of Political Science, Stanford University, 2012–present.
      Senior Fellow, Stanford Institute for Economic Policy Research, 2020–present.
      Senior Fellow, Hoover Institution, Stanford University, 2012–present.

      Director, Spatial Social Science Lab, Stanford University, 2012–present.
      W. Glenn Campbell and Rita Ricardo-Campbell National Fellow, Hoover Institution, Stanford Univer-
      sity, 2010–2012.
      Associate Professor, Department of Political Science, Stanford University, 2007–2012.

      Fellow, Center for Advanced Study in the Behavioral Sciences, Palo Alto, CA, 2006–2007.
      Ford Career Development Associate Professor of Political Science, MIT, 2003–2006.

      Visiting Scholar, Center for Basic Research in the Social Sciences, Harvard University, 2004.
      Assistant Professor of Political Science, MIT, 1999–2003.

      Instructor, Department of Political Science and School of Management, Yale University, 1997–1999.




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   Publications
   Books
      Why Cities Lose: The Deep Roots of the Urban-Rural Divide. Basic Books, 2019.
      Decentralized Governance and Accountability: Academic Research and the Future of Donor Programming. Co-
      edited with Erik Wibbels, Cambridge University Press, 2019.
      Hamilton‘s Paradox: The Promise and Peril of Fiscal Federalism, Cambridge University Press, 2006. Winner,
      Gregory Luebbert Award for Best Book in Comparative Politics, 2007; Martha Derthick Award for
      lasting contribution to the study of federalism, 2021.
      Fiscal Decentralization and the Challenge of Hard Budget Constraints, MIT Press, 2003. Co-edited with
      Gunnar Eskeland and Jennie Litvack.

   Peer Reviewed Journal Articles
      Who Registers? Village Networks, Household Dynamics, and Voter Registration in Rural Uganda,
      2021, Comparative Political Studies forthcoming (with Romain Ferrali, Guy Grossman, and Melina Platas).
      Partisan Dislocation: A Precinct-Level Measure of Representation and Gerrymandering, 2021, Political
      Analysis forthcoming (with Daryl DeFord Nick Eubank).
      Who is my Neighbor? The Spatial Efficiency of Partisanship, 2020, Statistics and Public Policy 7(1):87-100
      (with Nick Eubank).
      Handgun Ownership and Suicide in California, 2020, New England Journal of Medicine 382:2220-2229
      (with David M. Studdert, Yifan Zhang, Sonja A. Swanson, Lea Prince, Erin E. Holsinger, Matthew J.
      Spittal, Garen J. Wintemute, and Matthew Miller).
      Viral Voting: Social Networks and Political Participation, 2020, Quarterly Journal of Political Science (with
      Nick Eubank, Guy Grossman, and Melina Platas).
      It Takes a Village: Peer Effects and Externalities in Technology Adoption, 2020, American Journal of
      Political Science (with Romain Ferrali, Guy Grossman, and Melina Platas). Winner, 2020 Best Conference
      Paper Award, American Political Science Association Network Section.
      Assembly of the LongSHOT Cohort: Public Record Linkage on a Grand Scale, 2019, Injury Prevention
      (with Yifan Zhang, Erin Holsinger, Lea Prince, Sonja Swanson, Matthew Miller, Garen Wintemute, and
      David Studdert).
      Crowdsourcing Accountability: ICT for Service Delivery, 2018, World Development 112: 74-87 (with Guy
      Grossman and Melina Platas).
      Geography, Uncertainty, and Polarization, 2018, Political Science Research and Methods doi:10.1017/
      psrm.2018.12 (with Nolan McCarty, Boris Shor, Chris Tausanovitch, and Chris Warshaw).
      Handgun Acquisitions in California after Two Mass Shootings, 2017, Annals of Internal Medicine 166(10):698-
      706. (with David Studdert, Yifan Zhang, Rob Hyndman, and Garen Wintemute).
      Cutting Through the Thicket: Redistricting Simulations and the Detection of Partisan Gerrymanders,
      2015, Election Law Journal 14,4:1-15 (with Jowei Chen).
      The Achilles Heel of Plurality Systems: Geography and Representation in Multi-Party Democracies,
      2015, American Journal of Political Science 59,4: 789-805 (with Ernesto Calvo). Winner, Michael Waller-
      stein Award for best paper in political economy, American Political Science Association.


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      Why has U.S. Policy Uncertainty Risen Since 1960?, 2014, American Economic Review: Papers and Pro-
      ceedings May 2014 (with Nicholas Bloom, Brandice Canes-Wrone, Scott Baker, and Steven Davis).

      Unintentional Gerrymandering: Political Geography and Electoral Bias in Legislatures, 2013, Quarterly
      Journal of Political Science 8: 239-269 (with Jowei Chen).
      How Should We Measure District-Level Public Opinion on Individual Issues?, 2012, Journal of Politics
      74, 1: 203-219 (with Chris Warshaw).

      Representation and Redistribution in Federations, 2011, Proceedings of the National Academy of Sciences
      108, 21:8601-8604 (with Tiberiu Dragu).

      Dual Accountability and the Nationalization of Party Competition: Evidence from Four Federatons,
      2011, Party Politics 17, 5: 629-653 (with Erik Wibbels).
      The Geographic Distribution of Political Preferences, 2010, Annual Review of Political Science 13: 297–340.
      Fiscal Decentralization and the Business Cycle: An Empirical Study of Seven Federations, 2009, Eco-
      nomics and Politics 22,1: 37–67 (with Erik Wibbels).
      Getting into the Game: Legislative Bargaining, Distributive Politics, and EU Enlargement, 2009, Public
      Finance and Management 9, 4 (with Deniz Aksoy).

      The Strength of Issues: Using Multiple Measures to Gauge Preference Stability, Ideological Constraint,
      and Issue Voting, 2008. American Political Science Review 102, 2: 215–232 (with Stephen Ansolabehere
      and James Snyder).
      Does Religion Distract the Poor? Income and Issue Voting Around the World, 2008, Comparative Political
      Studies 41, 4: 437–476 (with Ana Lorena De La O).
      Purple America, 2006, Journal of Economic Perspectives 20,2 (Spring): 97–118 (with Stephen Ansolabehere
      and James Snyder).
      Economic Geography and Economic Voting: Evidence from the U.S. States, 2006, British Journal of
      Political Science 36, 3: 527–47 (with Michael Ebeid).
      Distributive Politics in a Federation: Electoral Strategies, Legislative Bargaining, and Government
      Coalitions, 2004, Dados 47, 3 (with Marta Arretche, in Portuguese).
      Comparative Federalism and Decentralization: On Meaning and Measurement, 2004, Comparative Poli-
      tics 36, 4: 481-500. (Portuguese version, 2005, in Revista de Sociologia e Politica 25).

      Reviving Leviathan: Fiscal Federalism and the Growth of Government, 2003, International Organization
      57 (Fall), 695–729.
      Beyond the Fiction of Federalism: Macroeconomic Management in Multi-tiered Systems, 2003, World
      Politics 54, 4 (July): 494–531 (with Erik Wibbels).

      The Dilemma of Fiscal Federalism: Grants and Fiscal Performance around the World, 2002, American
      Journal of Political Science 46(3): 670–687.
      Strength in Numbers: Representation and Redistribution in the European Union, 2002, European Union
      Politics 3, 2: 151–175.
      Does Federalism Preserve Markets? Virginia Law Review 83, 7 (with Susan Rose-Ackerman). Spanish
      version, 1999, in Quorum 68.



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   Working Papers
      Elections, Political Polarization, and Economic Uncertainty, NBER Working Paper 27961 (with Scott
      Baker, Aniket Baksy, Nicholas Bloom, and Steven Davis).

      Federalism and Inter-regional Redistribution, Working Paper 2009/3, Institut d’Economia de Barcelona.
      Representation and Regional Redistribution in Federations, Working Paper 2010/16, Institut d’Economia
      de Barcelona (with Tiberiu Dragu).

   Chapters in Books
      Political Geography and Representation: A Case Study of Districting in Pennsylvania (with Thomas
      Weighill), in Political Geometry, edited by Moon Duchin and Olivia Walch, forthcoming 2021, Springer.

      Keeping Your Enemies Close: Electoral Rules and Partisan Polarization, in The New Politics of Insecurity,
      edited by Frances Rosenbluth and Margaret Weir, forthcoming 2021, Cambridge University Press.
      Decentralized Rule and Revenue, 2019, in Jonathan Rodden and Erik Wibbels, eds., Decentralized Gov-
      ernance and Accountability, Cambridge University Press.

      Geography and Gridlock in the United States, 2014, in Nathaniel Persily, ed. Solutions to Political
      Polarization in America, Cambridge University Press.
      Can Market Discipline Survive in the U.S. Federation?, 2013, in Daniel Nadler and Paul Peterson, eds,
      The Global Debt Crisis: Haunting U.S. and European Federalism, Brookings Press.
      Market Discipline and U.S. Federalism, 2012, in Peter Conti-Brown and David A. Skeel, Jr., eds, When
      States Go Broke: The Origins, Context, and Solutions for the American States in Fiscal Crisis, Cambridge
      University Press.
      Federalism and Inter-Regional Redistribution, 2010, in Nuria Bosch, Marta Espasa, and Albert Sole
      Olle, eds., The Political Economy of Inter-Regional Fiscal Flows, Edward Elgar.

      Back to the Future: Endogenous Institutions and Comparative Politics, 2009, in Mark Lichbach and
      Alan Zuckerman, eds., Comparative Politics: Rationality, Culture, and Structure (Second Edition), Cam-
      bridge University Press.
      The Political Economy of Federalism, 2006, in Barry Weingast and Donald Wittman, eds., Oxford Hand-
      book of Political Economy, Oxford University Press.
      Fiscal Discipline in Federations: Germany and the EMU, 2006, in Peter Wierts, Servaas Deroose, Elena
      Flores and Alessandro Turrini, eds., Fiscal Policy Surveillance in Europe, Palgrave MacMillan.

      The Political Economy of Pro-cyclical Decentralised Finance (with Erik Wibbels), 2006, in Peter Wierts,
      Servaas Deroose, Elena Flores and Alessandro Turrini, eds., Fiscal Policy Surveillance in Europe, Palgrave
      MacMillan.
      Globalization and Fiscal Decentralization, (with Geoffrey Garrett), 2003, in Miles Kahler and David
      Lake, eds., Governance in a Global Economy: Political Authority in Transition, Princeton University Press:
      87-109. (Updated version, 2007, in David Cameron, Gustav Ranis, and Annalisa Zinn, eds., Globalization
      and Self-Determination: Is the Nation-State under Siege? Routledge.)

      Introduction and Overview (Chapter 1), 2003, in Rodden et al., Fiscal Decentralization and the Challenge
      of Hard Budget Constraints (see above).



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      Soft Budget Constraints and German Federalism (Chapter 5), 2003, in Rodden, et al, Fiscal Decentral-
      ization and the Challenge of Hard Budget Constraints (see above).
      Federalism and Bailouts in Brazil (Chapter 7), 2003, in Rodden, et al., Fiscal Decentralization and the
      Challenge of Hard Budget Constraints (see above).
      Lessons and Conclusions (Chapter 13), 2003, in Rodden, et al., Fiscal Decentralization and the Challenge
      of Hard Budget Constraints (see above).

   Online Interactive Visualization
      Stanford Election Atlas, 2012 (collaboration with Stephen Ansolabehere at Harvard and Jim Herries at
      ESRI)

   Other Publications
      Supporting Advanced Manufacturing in Alabama, Report to the Alabama Innovation Commission,
      Hoover Institution, 2021.
      How America’s Urban-Rural Divide has Shaped the Pandemic, 2020, Foreign Affairs, April 20, 2020.
      An Evolutionary Path for the European Monetary Fund? A Comparative Perspective, 2017, Briefing
      paper for the Economic and Financial Affairs Committee of the European Parliament.
      Representation and Regional Redistribution in Federations: A Research Report, 2009, in World Report
      on Fiscal Federalism, Institut d’Economia de Barcelona.
      On the Migration of Fiscal Sovereignty, 2004, PS: Political Science and Politics July, 2004: 427–431.
      Decentralization and the Challenge of Hard Budget Constraints, PREM Note 41, Poverty Reduction and
      Economic Management Unit, World Bank, Washington, D.C. (July).
      Decentralization and Hard Budget Constraints, APSA-CP (Newsletter of the Organized Section in
      Comparative Politics, American Political Science Association) 11:1 (with Jennie Litvack).
      Book Review of The Government of Money by Peter Johnson, Comparative Political Studies 32,7: 897-900.


   Fellowships, Honors, and Grants
      John Simon Guggenheim Memorial Foundation Fellowship, 2021.
      Martha Derthick Award of the American Political Science Association for “the best book published at
      least ten years ago that has made a lasting contribution to the study of federalism and intergovern-
      mental relations,” 2021.
      National Institutes of Health, funding for “Relationship between lawful handgun ownership and risk
      of homicide victimization in the home,” 2021.
      National Collaborative on Gun Violence Research, funding for “Cohort Study Of Firearm-Related Mor-
      tality Among Cohabitants Of Handgun Owners.” 2020.
      Fund for a Safer Future, Longitudinal Study of Handgun Ownership and Transfer (LongSHOT),
      GA004696, 2017-2018.
      Stanford Institute for Innovation in Developing Economies, Innovation and Entrepreneurship research
      grant, 2015.


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      Michael Wallerstein Award for best paper in political economy, American Political Science Association,
      2016.
      Common Cause Gerrymandering Standard Writing Competition, 2015.
      General support grant from the Hewlett Foundation for Spatial Social Science Lab, 2014.
      Fellow, Institute for Research in the Social Sciences, Stanford University, 2012.
      Sloan Foundation, grant for assembly of geo-referenced precinct-level electoral data set (with Stephen
      Ansolabehere and James Snyder), 2009-2011.
      Hoagland Award Fund for Innovations in Undergraduate Teaching, Stanford University, 2009.
      W. Glenn Campbell and Rita Ricardo-Campbell National Fellow, Hoover Institution, Stanford Univer-
      sity, beginning Fall 2010.
      Research Grant on Fiscal Federalism, Institut d‘Economia de Barcelona, 2009.
      Fellow, Institute for Research in the Social Sciences, Stanford University, 2008.
      United Postal Service Foundation grant for study of the spatial distribution of income in cities, 2008.
      Gregory Luebbert Award for Best Book in Comparative Politics, 2007.
      Fellow, Center for Advanced Study in the Behavioral Sciences, 2006-2007.
      National Science Foundation grant for assembly of cross-national provincial-level dataset on elections,
      public finance, and government composition, 2003-2004 (with Erik Wibbels).
      MIT Dean‘s Fund and School of Humanities, Arts, and Social Sciences Research Funds.
      Funding from DAAD (German Academic Exchange Service), MIT, and Harvard EU Center to organize
      the conference, ”European Fiscal Federalism in Comparative Perspective,” held at Harvard University,
      November 4, 2000.
      Canadian Studies Fellowship (Canadian Federal Government), 1996-1997.
      Prize Teaching Fellowship, Yale University, 1998-1999.
      Fulbright Grant, University of Leipzig, Germany, 1993-1994.
      Michigan Association of Governing Boards Award, one of two top graduating students at the Univer-
      sity of Michigan, 1993.
      W. J. Bryan Prize, top graduating senior in political science department at the University of Michigan,
      1993.


   Other Professional Activities
      Selection committee, best paper award, American Journal of Political Science.
      International Advisory Committee, Center for Metropolitan Studies, Sao Paulo, Brazil, 2006–2010.
      Selection committee, Mancur Olson Prize awarded by the American Political Science Association Po-
      litical Economy Section for the best dissertation in the field of political economy.
      Selection committee, Gregory Luebbert Best Book Award.
      Selection committee, William Anderson Prize, awarded by the American Political Science Association
      for the best dissertation in the field of federalism and intergovernmental relations.


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   Courses
   Undergraduate
      Politics, Economics, and Democracy
      Introduction to Comparative Politics
      Introduction to Political Science
      Political Science Scope and Methods
      Institutional Economics
      Spatial Approaches to Social Science

   Graduate
      Political Economy
      Political Economy of Institutions
      Federalism and Fiscal Decentralization
      Politics and Geography


   Consulting
      2017. Economic and Financial Affairs Committee of the European Parliament.
      2016. Briefing paper for the World Bank on fiscal federalism in Brazil.
      2013-2018: Principal Investigator, SMS for Better Governance (a collaborative project involving USAID,
      Social Impact, and UNICEF in Arua, Uganda).
      2019: Written expert testimony in McLemore, Holmes, Robinson, and Woullard v. Hosemann, United States
      District Court, Mississippi.
      2019: Expert witness in Nancy Corola Jacobson v. Detzner, United States District Court, Florida.
      2018: Written expert testimony in League of Women Voters of Florida v. Detzner No. 4:18-cv-002510,
      United States District Court, Florida.
      2018: Written expert testimony in College Democrats of the University of Michigan, et al. v. Johnson, et al.,
      United States District Court for the Eastern District of Michigan.
      2017: Expert witness in Bethune-Hill v. Virginia Board of Elections, No. 3:14-CV-00852, United States
      District Court for the Eastern District of Virginia.
      2017: Expert witness in Arizona Democratic Party, et al. v. Reagan, et al., No. 2:16-CV-01065, United
      States District Court for Arizona.
      2016: Expert witness in Lee v. Virginia Board of Elections, 3:15-cv-357, United States District Court for
      the Eastern District of Virginia, Richmond Division.
      2016: Expert witness in Missouri NAACP v. Ferguson-Florissant School District, United States District
      Court for the Eastern District of Missouri, Eastern Division.


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      2014-2015: Written expert testimony in League of Women Voters of Florida et al. v. Detzner, et al., 2012-CA-
      002842 in Florida Circuit Court, Leon County (Florida Senate redistricting case).

      2013-2014: Expert witness in Romo v Detzner, 2012-CA-000412 in Florida Curcuit Court, Leon County
      (Florida Congressional redistricting case).
      2011-2014: Consultation with investment groups and hedge funds on European debt crisis.

      2011-2014: Lead Outcome Expert, Democracy and Governance, USAID and Social Impact.

      2010: USAID, Review of USAID analysis of decentralization in Africa.
      2006–2009: World Bank, Independent Evaluations Group. Undertook evaluations of World Bank de-
      centralization and safety net programs.

      2008–2011: International Monetary Fund Institute. Designed and taught course on fiscal federalism.

      1998–2003: World Bank, Poverty Reduction and Economic Management Unit. Consultant for World De-
      velopment Report, lecturer for training courses, participant in working group for assembly of decentral-
      ization data, director of multi-country study of fiscal discipline in decentralized countries, collaborator
      on review of subnational adjustment lending.



                                           Last updated: September 23, 2021




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                              Exhibit




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                              Exhibit




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Supreme Court of Ohio Clerk of Court - Filed January
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